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                               WE T/CRS
                                      Nos.     06-1012,         -1081



                                                  IN THE

           ntteb                  tates ( ourt of Appeals
                             FOR       THE FEDERAL                 CIRCUIT




                                         IPVENTURE,             INC.,

                                          Plaintiff-Appellant,
                                                       IL
                             PROSTAR           COMPUTER,             INC.       and
                                 MIDERN          COMPUTER,              INC.,

                                  Defendants-Cross            Appellants.



            APPEALS FROM THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
               IN CASE NO. 03-CV-5780, JUDGE DALE S. FISHER



              BRIEF            OF PLAINTIFF-APPELLANT
                                   IPVENTURE,                       INC.




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March   13, 2006


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                                        CERTIFICATE               OF    INTEREST


          Counsel      for Plaintiff-Appellant,              IpVenture,        Inc., certifies        tile following:


          1.        The     full name       of every   party     or amicus         represented        by us is:


                              IpVenture,        Inc.


          2.        The     names       of all real parties      in interest       (if the party       named      in the


                    caption     is not the real party           in interest)      represented         by us are:


                              Not      applicable.


          3.        All parent         corporations     and any publicly            held     companies         that own


                    10% or more            of the stock      of the party        or amicus       curiae    represented     by


                    us are:


                              None.


          4.        The names           of all law firms        and the partners        or associates          that


                    appeared          for the party    or amicus        now      represented       by us in the trial


                    court     or agency       or are expected          to appear      in this Court        are:


                              Irell    & Manella       LLP
                              Morgan         Chu
                              Richard        M. Birnholz
                              Rudy       Y. Kim
                              Craig      B. Whitney        (no longer      with     the finn)




                                                                       Richard      M. Birnholz
                                                                       Attorneys       for Plaintiff-Appellant
                                                                       IPVENTURE,              INC.



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                                STATEMENT            OF RELATED                  CASES


            No other   appeal     in or from this same          civil   action     was previously     before     this


Court       or any other court     of appeals.       Further,     there   is no case known          by counsel     to


be pending        in this or any other court that will directly                  affect   or be directly   affected


by this Court's        decision    in the pending      appeal.




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                                       JURISDICTIONAL                           STATEMENT


            The United           States   District     Court           for the Central        District     of California         (Judge


Dale       S. Fisher)         had jurisdiction        over        the patent         infringement        action     giving      rise to


this appeal          pursuant       to 28 U.S.C.        § 1338(a).


            The United           States   Court      of Appeals               for the Federal       Circuit       has jurisdiction


over       this appeal        pursuant      to 28 U.S.C.            § 1295(a)(1).


            The      notice     of appeal     in Appeal           No. 06-1012             from    the district      court's     August


26, 2005          Judgment         Dismissing        Action            Without        Prejudice     and related        orders     was


timely       filed    by Plaintiff-Appellant               IpVenture,             Inc. in accordance          with     28 U.S.C.


§ 2107(a)          and Rule        4(a) of the Federal                 Rules     of Appellate       Procedure         on September


26, 2005.


            This     case also involves             a cross-appeal,              Appeal      No. 06-1081.           On November


2, 2005,       Defendants-Cross               Appellants            ProStar          Computer,      lnc. and Midern


Computer,            Inc. filed a notice          of appeal            in Appeal        No. 06-1081        from      the district


court's      October          18, 2005      Order    Denying                Motion     for Declaration        of Exceptional


Case       and Award           of Attorneys'        Fees     Pursuant            to 35 U.S.C.       § 285.




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                                 PRELIMINARY                     STATEMENT


           This is an appeal     in Plaintiff-Appellant             lpVenture's     patent infringement

action against Defendants-Cross              Appellants           ProStar     Computer,      Inc. and Midern

Computer,       Inc. with respect to U.S. Patent No. 6,216,235                      (the "'235 patent"),

entitled     "Thermal     and Power Management                   For Computer       Systems."      The district

court dismissed         IpVenture's     action on the grounds               that lpVenture     lacked sufficient

standing      and that the court lacked subject matter jurisdiction.                       Although     it was not

in dispute     that IpVenture     owned the '235 patent, on Defendants'                       motion to dismiss

under Rule 12(b)(1)          of the Federal     Rules of Civil Procedure,                 the district court held

that a third-party        was a co-owner       of the '235 patent at the time the Complaint                    was

filed.     Because   that party was not joined as a plaintiff,                  the district court entered a

judgment       dismissing     the action without           prejudice.

           The district    court's dismissal      should be reversed.             IpVenture      is the sole

assignee      of the '235 patent through a written assignment                     from both named

inventors,      C. Douglass     Thomas      and Alan Thomas.                 The district court's dismissal

was based on the erroneous legal conclusion                        that Hewlett-Packard          Company

("HP"), for whom inventor              Douglass        Thomas        previously    worked as a patent

attorney,     was a co-owner          of the '235 patent.          Defendants      conceded      that IpVenture

was an owner of the '235 patent through                        its assignment     from inventor       Alan

Thomas.        But Defendants         argued that HP also was a co-owner                     of the '235 patent




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through        a form employment-related                        agreement            with     inventor      Douglass       Thomas,


who worked               on the inventions               of the '235 patent             and the related        patent     applications


entirely       on his own time outside                      of his employment.                 HP never       asserted     or claimed


any ownership               interest     in the '235 patent,                  and in fact expressly          disclaimed         any such


interest.       Nevertheless,                the district     court       incorrectly        held that the agreement


between         Douglass           Thomas         and HP constituted                 a present       assignment         of legal title of


the inventions             of the '235 patent.


            The district           court's      ruling      that HP was a co-owner                   of the '235 patent         is


contrary        to this Court's              controlling      decision           in Arachnid,        lnc.   v. Merit     ln&tstries,


939 F.2d          1574 (Fed.           Cir. 1991).          Under         Arachnid         and its progeny,       an agreement


that      is merely       an "agreement              to assign"           is "not an assignment"             and does not


transfer       legal      title.    Rather,       legal title is only passed                 by a conveyance.             The


employment               agreement            between       Douglass            Thomas       and HP, on which            the district


court       relied,     did not contain            the required               conveyance       language      and was at most an


agreement             to assign      that did not affect              legal title.         Indeed,    the HP-Thomas


agreement             contains       "agree       to assign"         language        that this Court         has held does           not


constitute            a present      conveyance.             Arachnid,           939 F.2d at 1580-81.             Moreover,           HP


never       asked       for an assignment                and after Defendants                 (not HP) raised          an issue      of


ownership,             HP confirmed              that HP has never                asserted     ownership       of, and has never


had any rights             to, the patents.              HP also released             claims     with respect          to the




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enforcement            of the patents.          Legal      title remained          at all times         with the inventors,


until they properly             assigned        ownership            to IpVenture.


            In holding         HP to be a co-owner                 of the '235 patent,           the district       court


incorrectly          analogized         the agreement              in this case to the ones at issue                in Speedplav,


Inc. v. Bebop,          Inc.,     211 F.3d         1245 (Fed.          Cir. 2000)     and Filmtec          Corp.      v.


Hydranautics,            982 F.2d        1546      (Fed.    Cir. 1992).          Neither      case applies          here.      Both     of


those      cases,     like all other       cases     finding        an agreement           to be a present          assignment          of


legal title,        involved      language         expressly         assigning      all right,     title and interest          to the


inventions          in question.


           Even      assuming       for the sake of argument                     that HP was a co-owner                    of the '235


patent,      the district       court    also erred        in holding          that the case must          be dismissed.              In


dismissing,          the district       court   relied     on this Court's           decision       in Ethicon,        hrc. v. U.S.


Surgical       Corp.,       135 F.3d       1456,      1468 (Fed.            Cir. 1998),     which       states   that "all co-


owners        must     ordinarily        consent      to join as plaintiffs           in an infringement              suit."     The


district     court     apparently        viewed       this case as setting            forth      aper     se rule that the


absence       of a co-owner             requires     dismissal.            The district     court's      reliance     on Ethicon,


however,        is misplaced.            Ethicon        did not address           the question          of whether          an action


must be dismissed               where      the absent        party         has disclaimed        ownership          in the patent,


as HP did here.




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            IpVenture        is not aware      of any Federal                 Circuit    case that has addressed               this


specific      question.       In such circumstances,                       the appropriate         inquiry     is whether      such a


party      is a necessary       party      under     Rule         19 of the Federal             Rules    of Civil Procedure.


The district       court     erred     in failing     to do any analysis                 ofjoinder        and did not consider


any of the factors            set forth     in Rule      19. The district               court     also refused      to consider


the 2005       agreement        between        HP and IpVenture                     in which      HP disclaimed          any


ownership        interest,     incorrectly          holding           that such agreement               need not be considered


simply       because       it post-dated      the complaint.                 Because       HP has not even           claimed          an


interest     in the subject          of this action,        and has expressly                  disclaimed       any such interest,


it is not a necessary           party      and requiring              its joinder       would     serve      no purpose.


            IpVenture        is the sole assignee             and holder            of legal     title to the '235 patent.


The district       court     erred     in holding       to the contrary.                IpVenture         had standing      to bring


this action      and the district          court's     dismissal            should      be reversed.




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                                         STATEMENT                   OF THE          ISSUES


             I.         Whether       the district    court      erred       in holding      that third-party       Hewlett


Packard           Company       ("HP")         was a co-owner             of the '235 patent,        when       the agreement


on which           Defendants         relied    to argue    HP's          alleged    ownership       interest    was at most


an agreement             to assign,      not a present          conveyance           of legal title?


             2.         Whether       the district    court      erred       in dismissing        IpVenture's      action     for


lack       of subject     matter      jurisdiction     or lack of standing,               where      lpVenture      had both


constitutional           and prudential          standing        to sue for infringement               as the assignee        and


holder       of legal     title to the patent        at issue            and where     the alleged      absent     "co-owner"


expressly          disclaimed      any interest       in the patent-in-suit               and thus      cannot     be


considered          a necessary         party    whosejoinder               was required       in the case?




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                                         STATEMENT                      OF THE            CASE


          This    is a patent         infringement        case.          lpVenture         appeals     from the "Judgment


Dismissing         Action       Without       Prejudice"        entered           by the United          States    District      Court


for the Central         District       of California       on August              26, 2005       (A l); the "Order             Setting


Evidentiary          Hearing       Re Defendants'          Renewed            Motion         To Dismiss"           dated      July 27,


2005      (A2-21);      the "Order          On Defendants'               Renewed          Motion       To Dismiss"          dated


August      25, 2005        (A22-23);         and the "Amended                    Order     On Defendants'           Renewed


Motion         To Dismiss        and Order        Denying           Request        To Withdraw            Joint     Stipulation


From      The Record"           dated     August       31,2005            (A24-25).


          On August            14, 2003,      lpVenture         filed      suit against        ProStar      and Midern


(collectively,        "Defendants")           alleging         infringement           of U.S. Patent             No. 6,216,235


(the "'235       patent")      based     on Defendants'                 sale of notebook           computers.


          On May 27, 2005,                Defendants           moved        to dismiss         for lack of subject             matter


jurisdiction       under       Rule     12(b)(l    ) of the Federal               Rules     of Civil Procedure,             based        on


the non-joinder          of Hewlett          Packard       Company            ("HP"),        a third     party    that Defendants


contended         was a co-owner             of the '235 patent.


          On July 27, 2005,              the district      court         issued    an "Order          Setting     Evidentiary


Hearing        re Defendants'           Renewed        Motion           to Dismiss,"         setting     forth     conclusions           of


law and scheduling               an evidentiary          hearing          to resolve        certain    factual      matters,      as will


be described          in more      detail    below      in the Statement                  of Facts.     (A2-21)        On




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August      24, 2005,           IpVenture      filed a "Statement                 Re 'Proprietary         Development'             Issue


on Defendants'            Renewed           Motion     to Dismiss,"              informing       the district    court      that


IpVenture        did not contest            the factual      issue          to be addressed           at the contemplated


evidentiary          hearing.       (A576-579)


          On August             25, 2005,     the district           court     issued     its "Order      On Defendants'


Renewed         Motion          To Dismiss,"         in which             the court     concluded        that the action      must


be dismissed           without      prejudice.        (A22-23)               On August        26, 2005,      the district      court


entered       its Judgment          dismissing        the action             without     prejudice.       (A1)   Defendants


moved       for'an     award       of attorneys'       fees under              35 U.S.C.      § 285, a motion        the court


denied      on October           18, 2005      because       Defendants                were   not "prevailing      parties"         as


they had not received                any relief      on the merits.               (A26-28)




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                                               STATEMENT                      OF FACTS


I.          The     '235     Patent


            The patent-in-suit             in this case is U.S. Patent                   No. 6,216,235            (the '"235


patent"),         entitled     "Thermal        and Power          Management                  For Computer          Systems."           The


'235 patent          relates     to improved           approaches             for providing        thermal       and power


management              for computers.              In particular,          "[t]hese      approaches          facilitate      intelligent


control      of a processor's             clock      frequency        and/or        a fan's speed         so as to provide


thernlal      and/or         power      management          for the computing                  device."       (A59,        Abstract)


The '235 patent              issued      on April       10, 2001,          and resulted         from a continuation


application           filed July        10, 1999 which            claimed          priority     to a parent       application          filed


June       20, 1994.         (Id.)


            The     named        inventors        on the '235 patent               are C. Douglass            Thomas,         Plaintiff-


Appellant           IpVenture's          co-founder,       and his father              Alan Thomas.             Douglass         Thomas


is a patent         attorney          who prosecuted         the patent            applications       that led to the '235


patent      on his own behalf                with    his own resources.                 Plaintiff-Appellant                IpVenture        is


the assignee           of the '235 patent.              In March           2003,     before      the filing      of the suit, both


inventors          Alan Thomas             and Douglass           Thomas            assigned      their entire       right,     title and


interest      in and to the '235 patent                  (and three           other patents)        to IpVenture.             (A171-


 177)       The written          assignment          confirmed            that lpVenture          "has succeeded              to all of


INVENTORS'                   right,    title, and standing            to...        institute    and prosecute              all suits and




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proceedings           under    the Patents"          and "collect,        assert,     or enforce        any claim..,           of any


kind under        any and all of the Patents,                whether        arising     before     or after        the Effective


Date."       (A172)         An "Assignment             Agreement"          reflecting         the assignment           from Alan


Thomas          and Douglass         Thomas          to lpVenture         was duly          recorded      in the United           States


Patent      and Trademark            Office      on April       15, 2003.       (A179-181)


II.        IpVenture          Broul_ht        This    Action      As The        Assignee         Of Both          Inventors


           On August          14, 2003,       IpVenture        filed     its Complaint          against     ProStar         and


Midern       alleging       infringement          of the '235 patent.               Based     on the assignment               from


both      of the inventors,          IpVenture's        complaint         alleged      that lpVenture             "is the owner


by assignment            of all right,     title and interest           in and to the '235 patent."                  (A55,        ¶ 7)


Defendants         ProStar       and Midern          are California          companies          that sell notebook


computers.         IpVenture          alleged      Defendants           infringed      by, among          other     things,


selling     infringing        notebook        computers.         (A55-56,           ¶¶ 8, 12)

III.       Pre-Suit         Events


           A.         The     HP-Thomas              Employment            Agreement


           Douglass         Thomas       worked        at Hewlett-Packard               Company           ("HP")      from


approximately            August       1992      to May     1995        as a patent      attorney       in HP's      legal


department.           On August          18, 1992,       Douglass         Thomas        signed     an employment-related


agreement         with      HP entitled         "Agreement        Regarding           Confidential         Information             and


Proprietary        Developments"              (the "HP-Thomas               Agreement").               (AI 11) Among               other




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things, the agreement contained language describing certain defined "Proprietary

Developments" that might ultimately become subject to the agreement.

Paragraph 3 of the HP-Thomas Agreement provided:

          This Agreement also concerns inventions and discoveries (whether or not

          patentable)...     (hereinafter called "Proprietary Developments") that are

          conceived or made by me alone or with others while I am employed by HP;

          that relate to the research and development or the business of liP, or result

          from work performed by me for HP; or that do not qualify fully under the

          prevailing provisions of California Labor Code Section 2870.* Such

          Proprietary Developments are the sole property of HP, and I agree:

                a.     to disclose them promptly to HP;

                b.     to assign them to HP; and

                c.     to execute all documents and cooperate with HP in all necessary

                       activities to obtain patent, copyright, mask work and/or trade

                           secret protection in all countries, HP to pay the expenses.




          There is no assignment from Douglass Thomas to HP with respect to the

'235 patent, and HP has never requested any assignment. Nor has HP ever asserted

that it owns or owned the '235 patent. As Douglass Thomas testified in deposition,

the inventions set forth in the parent application to the '235 patent (and related




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patents)        were     made      entirely       on his own time             outside         of work,       without     using     any of


HP's     money,         resources,        equipment,           supplies,      facilities,        or trade     secret     information.


(A936      at 122:5-20)             It is undisputed            that inventor          Alan      Thomas         had no affiliation


with     HP.


           B.           The April         2003      IpVenture-HP               Agreement


           In April        2003,     before       this suit was filed,            IpVenture           entered     into an


agreement         with         HP that contained            a covenant         not to sue under               the '235 patent          (and


a number         of other         IpVenture         patents)      (the "2003         Agreement").               (A 1024-1027)


This     agreement             allowed     IpVenture           to explore       retaining        its present       counsel,       which


also represents                HP on unrelated          matters,        without      the law finn having                any conflict


of interest.           (Id.)


           The 2003             Agreement         recited      that "IpVenture              is the owner         of certain      patent


rights     relating        to thermal        management,"              and that "HP and IpVenture                       desire    to


resolve        any issues         regarding        those     certain       patents     ....     " (A1024)          The agreement


further     recited        that "IpVenture            may wish          to employ           the law firm of Irell & Manella


to represent           it in asserting           the IpVenture          Patents      against       parties      other    than HP, and


IpVenture          now wishes            to remove          any conflict          of interest         for this finn by entering


into this Agreement."                    (Id.)


           The patents            that were        the subject         of the 2003          Agreement           were    identified         by


patent      number,            and defined        as "IpVenture            Patents,"          which    means      the '235       patent,




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three other listed patents in the same family, as well as related patents. (Id.,

¶ 1.1(b)) The patents themselves were not attached to the Agreement, though like

all issued patents they are publicly available and easily obtained. In the agreement,

IpVenture covenanted not to sue HP on the IpVenture Patents. (Id., ¶ 3.1) HP

correspondingly released IpVenture "from any claims, demand and rights of action

HP now has or may have arising from or with regard to the validity or

enforceability of the lpVenture Patents or of attempts to enforce the IpVenture

Patents." (Id., ¶ 2.2) HP also covenanted "not to bring any action against

IpVenture asserting any claim or defense that was or could have been brought as a

counterclaim in an Action brought by IpVenture against HP to enforce the

IpVenture Patents." (Id., ¶ 3.2)

IV.        The District      Court       Proceedings


           IpVenture      filed this lawsuit       against     ProStar and Midern        in the Central


District     of California     in August      2003.      For a number      of reasons     not directly


pertinent     to the issues     on appeal,        such   as Defendants'     successive     changes   of


counsel,      meaningful      discovery      did not proceed        in the case until late 2004.          In


addition     to conducting       discovery        on issues     of patent validity     and infringement,


Defendants       sought      discovery      from HP relating        to Douglass       Thomas'   previous


employment.            In December        2004,    Defendants      subpoenaed        HP for documents,


including      the HP-Thomas         Agreement.           (A 1050-1057)




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           In February 2005, Defendants served interrogatory responses in which

Defendants         contended         that HP held an ownership                       interest         in the '235 patent           as a


result     of the HP-Thomas               Agreement.            Defendants           raised      new defenses          based        on


this assertion,       including         that HP had effectively                    licensed       the '235 patent          to


Defendants,          among      others.       Defendants             asserted      that HP's participation                 in an


industry      specification        relating      to power         management                 called     "ACPI"      (Advanced


Configuration          and Power           Interface)      resulted         in a license         to the entire       computer


industry,       including      Defendants.           Defendants             also asserted             that HP had a patent


cross-license        with Intel,        the supplier           of microprocessors                for Defendants'            computers,


which       purportedly        provided       Defendants             with     some sort of license               rights.        Separate


and apart       from the substantive             flaws         in these      defenses,         all of Defendants'               "license


via HP" theories            depend      on HP having             been       an owner          of the '235 patent            - an issue


on which        the district     court      reached      an erroneous               legal conclusion             and a principal


subject      of this appeal.


           IpVenture's        counsel       notified     Defendants               that these      new allegations               regarding


HP's alleged         ownership          in the '235 patent               raised    the potential          for adversity          between


IpVenture        and HP.        This      resulted      in a potential            conflict      for IpVenture's            counsel,


which       also represented           HP in unrelated            matters.          (A187)        In light of the


circumstances,            on March        9, 2005,       IpVenture           and Defendants              submitted         a Joint


Status      Report    with     the district      court     that acknowledged                    that there       was a potential




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conflict        issue    that "needs       to be addressed                    and resolved"          before     discovery          and


further     motion         practice      could      continue.             (A 1081 - 1083)


           A.           The     April    2005       IpVenture-HP                  Agreement


           The conflict          issue    was resolved               on April 20, 2005,                when        IpVenture        and HP


entered      into a document              entitled         "Settlement            Agreement"            (the "2005         Agreement").


(A209-214)              This    agreement          further      resolved          any dispute           relating      to patent


ownership,          which        arose   only as a result              of Defendants'               allegations       in this suit.


(A209)


           The 2005            Agreement         begins       with the recital               that "IpVenture           is the sole


assignee         of" the '235 patent             (and other patents).                     (Id.)     The agreement           then


references         this pending          lawsuit,          Defendants'           challenge          to IpVenture's         sole


ownership           rights      based    on Douglass            Thomas'           prior       employment            with   HP, and the


potential        conflict       of interest        issue     for IpVenture's               counsel      that had arisen            from


Defendants'             allegations.       (Id.)      The agreement                states         that the "parties        wish to


resolve      these       ownership         issues     once      and for all times                  and remove         any possible


conflict        ofinteresr'        for IpVenture's             counsel.           (Id.)


            In the 2005          Agreement,           HP confirmed                that "HP has never                asserted       any


ownership           rights      to the IpVenture             Patents           and agrees          to forbear      from asserting         any


such rights         at any time          in the future."             (A210,        ¶ 2.2)         HP also expressly            confirmed


that HP "has no rights..,                     and never             has had any legal               or equitable       rights,




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including        any shop          rights,     to any of the IpVenture                 Patents,"       including        the '235


patent     at issue       in this case.          (Id.)      HP released          IpVenture       "of and from any and all


manner       of claims          relating       to the IpVenture              Patents   ....    " (A211,          ¶ 2.4)      Further,


HP expressly             waived       any conflict           of interest        for lpVenture's          counsel       at Irell &


Manella         to represent         lpVenture           with      respect      to the lpVenture          Patents.        (A210-211,


¶ 2.3)      In consideration,                IpVenture        agreed      to pay HP a portion               of net revenues


received        with     respect      to the IpVenture               Patents.      (A21 l, ¶ 3.2)


           B.          Defendants'             Motion        To Dismiss


           On May          27, 2005,          Defendants           filed a motion        to dismiss,        entitled        "Renewed


Motion       to Dismiss.           'a (A83)          This    is the motion          which      ultimately        resulted       in the


judgment         of dismissal            and related         orders     that are the subject             of this appeal.


           In their      motion,         Defendants          requested          that the district        court     dismiss      the


action     for lack of subject                matter     jurisdiction         under    Rule      12(b)(1)        of the Federal


Rules      of Civil Procedure.                 Defendants            argued      that lpVenture          lacked      standing         to


sue, and that the district                   court     therefore      lacked      subject     matter      jurisdiction,         on the


ground       that IpVenture              allegedly        was not the sole owner                of the '235 patent.              (A99-




           J Earlier       on March           28, 2005,         Defendants         had filed a similar             "Motion       to
Dismiss."    on April 1, 2005, however,   the parties submitted   a joint stipulation
stating that the Defendants'  motion "relates to matters squarely     within the scope                                                      of
the conflict           matter     previously           brought       to the Court's         attention"      and requesting              that
the district       court        extend       the time for briefing              and hearing        on the motion             until    the
matter      was resolved.             (A 1093-1095)



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102) Notwithstanding the fact that the HP-Thomas Agreement stated that the

employee only "agree[d]...                    to assign" inventions made during his employment,

Defendants relied on the statement that certain "Proprietary Developments" that

may become subject to the agreement "are the sole property of liP."                                            (ld.)

Defendants argued that this descriptive language in the HP-Thomas Agreement

from 1992 constituted a present assignment of patent rights that later operated

automatically as an assignment of the '235 patent's 1994 parent application as well

as the '235 patent when it came to being in 2001. As a result, Defendants argued

HP was a co-owner of the '235 patent at the time the complaint was filed. Because

HP was not joined as a plaintiff, Defendants sought dismissal. (Id.) Defendants

further requested that the dismissal be with prejudice                               based      on the conclusory


assertion      that Defendants,           and the entire         notebook        computer        industry,      held a


license      through       HP's participation         in the "ACPI"            specification.        (AI05)      z


            IpVenture       opposed       the motion        on the ground           that IpVenture's           standing      was


not an issue.          (A123,    A128-29)          IpVenture          argued     that it was the sole owner                 and


holder      of legal    title to the '235 patent            through      assignments         from both         inventors.




            z IpVenture       argued      that the request           for a dismissal      with prejudice             was
without       basis,    as well as a disguised             attempt      to obtain      summary       judgment          on
Defendants         purported       "license       via HP via ACPI"             defense.         (A146-147;        A6 n.6)
The district       court     correctly     declined        to reach     the merits      of Defendants'           defense      that
it was licensed           in connection       with    HP's participation             in ACPI,       stating:      "Tile Court
cannot       decide     this factual      issue   on this motion."             (A6 n.5)



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lpVenture        also argued            that HP had no ownership                 interest       because      HP never          held


legal title to the '235 patent.                  Under      the Federal        Circuit's       decision      in Arachnid,             h_c.


v. Merit      h_dustries,         Inc.,    939 F.2d       1574 (Fed.        Cir. 1991),         and other Federal              Circuit,


district     court     and California           cases,     the HP-Thomas            Agreement             contained       no


present      grant     or conveyance            and hence         could     not constitute         an assignment


conveying        legal title to patents•                Rather,    the agreement             explicitly     contained          the


language       "I agree..,            to assign,"        which    as this Court        held in Arachnid               was at most


an "agreement            to assign"         that did not transfer           legal   title.     (A111;       A134-141)


            IpVenture        also argued         that even        assuming      HP had an co-ownership                     interest,


there      was no basis          to dismiss.         Because       IpVenture        indisputably          held an assignment


from       one of the inventors,              Alan Thomas,          IpVenture         was a "patentee"             with


"constitutional"             standing       to sue.      At the hearing        on Defendants'             motion       to dismiss,


the district         court   recognized         this point,       which      the Defendants           conceded.           (A247)


Any issue        of standing          therefore         was at most       "prudential"          but had been          cured      in


light      of HP's releases           of IpVenture         and express         confirmation          that HP "has no rights


•..     and never       has had any legal               or equitable      rights"    to the '235 patent.              Further,


IpVenture        argued          that there     was no basis           to require    joinder       of liP as a necessary                or


indispensable            party     under      Rule      19. Joining       HP was unnecessary                 and would          serve


no purpose           given     HP's       disclaimers      of any interest.          (A 143-146)




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           C.       The District            Court       Decision


           On July 27, 2005,             the district      court      ruled     on Defendants'         motion        to dismiss.


(A2-21)         The district        court     addressed       two issues:         (1) whether         Douglass         Thomas


assigned        his rights     to the '235 patent            to HP, making             HP a co-owner            of the patent;


and (2) if liP had an ownership                       interest,     what      impact this had on IpVenture's


ability    to sue without           joining     HP as a plaintiff.              (A6)


           The district       court     held that the HP-Thomas                   Agreement           "constitutes        an


assignment         of all Proprietary           Developments               to HP."      (A IT)      The court        concluded


that the phrase           "are the sole property             of liP"       was a "present          assignment,"


notwithstanding            that this clause           was followed            by the language          "I agree..,         to


assign     them     to HP."         (A17-18)        The district        court     concluded         that this case was


more      analogous        to the agreements              in Fihntec          Corp.    v. Hydranautics,           982 F.2d


1546      (Fed.    Cir.    1992),      and Speedplay,             h_c. v. Bebop,        Inc.,    211 F.3d       1245    (Fed.      Cir.


2000),     which      both     contained        express       grant    language,        rather     than the agreement              in


Arachnid,         which      involved       similar      language       to that here but was held to constitute


only an agreement              to assign.        (A18)


           The district        court    next considered             whether       further       proceedings       on the motion


were      necessary       if liP held an ownership                  interest.     The court         quoted      the statement           in


Ethicon,        Inc. v. U.S. Surgical            Co_p.,      135 F.3d 1456,             1468 (Fed.       Cir.    1998),     that "all


co-owners         must     ordinarily         consent      to join as plaintiffs            in an infringement            suit."




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(A 19) The Court then turned to the 2003 Agreement and the 2005 Agreement "to

determine whether they resolve this issue." (A20) Even though                                                      the 2005


Agreement             included      HP's express          disclaimer            of any ownership                 interest     in the '235


patent       and confirmation             that HP has never                  asserted     ownership             rights,     the district


court       declined        to consider      that agreement                 at all, stating:        "The agreement               reached


in April       2005       need    not be considered                because       the Complaint             was filed          in August


2003."        (ld.)     The district        court     stated       that subsequent             events     could       not cure


standing        issues,       erroneously       relying        on cases involving                constitutional              standing


defects       that existed        at the time        the complaint              was filed,       circumstances               not present


in this case.          The district        court     then asked             whether      the 2003        Agreement             vested


IpVenture          with      sole rights     in the '235 patent.                 The court       held it did not, and hence


was not a factor              in the analysis         - notwithstanding                  that the 2003           Agreement


recognized            IpVenture's         ownership       and contained                 a release       of claims          against


IpVenture          arising       from or with         respect       to any attempts             to enforce          the '235 patent


and other          listed    "IpVenture       Patents."


            The district         court    concluded        its discussion               by stating       that     "Under       Ethicon,         if


a co-owner            cannot     be joined,         the action          must be dismissed."                (A2 I)          The district


court       made      no inquiry         into whether          HP could be joined                or whether               HP should        be


deemed         a necessary          or indispensable               party under          Rule    19 of the Federal               Rules      of


Civil       Procedure.




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            Having       concluded          that the HP-Thomas               Agreement           "was     an assignment,"                  the


district     court     then set an evidentiary                hearing      "to determine             whether        the '235 Patent


constitutes          a Proprietary       Development             as the term is defined                in the Thomas


Employment             Agreement."            (A21)       On August          24, 2005,         IpVenture           informed       the


court      that IpVenture          maintained          its disagreement             with    the court's        ruling      on whether


the HP-Thomas              Agreement            constituted        an assignment            of legal      title.     However,          as


to the separate           issue   of whether          the invention         of the '235 patent               was a "Proprietary


Development"              under      the HP-Thomas              Agreement,           IpVenture         informed         the court


that    IpVenture         did not contest           that factual        issue.     (A576-579)


             On August         25, 2005,        the district     court     entered         an order     taking       the


evidentiary          hearing      off calendar         and dismissing             the action         without       prejudice.         In


light of its previous             ruling,     the district       court     held that "the '235 patent                   was assigned


to HP and that HP is a co-owner                        of the '235 patent.             As HP is not joined                 as a


plaintiff,      the action        must be dismissed              without         prejudice."         (A23)         At a telephonic


hearing       with the parties,          the district        court     acknowledged            that it "thought            it was a


difficult      issue     and - and a hard one to decide...                          " (A865)


             Because      the district       court     never     addressed         HP's current          ownership          status,


and indeed           expressly       declined        to consider        the 2005       Agreement,            lpVenture


requested        that the district          court     correct    the statement             in the order        that HP "is" a co-


owner.        (A613-615).            On August          31,2005,         the district        court     did so and entered               an




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"Amended Order On Defendants' Renewed Motion To Dismiss" in which it

changed its statement that HP "is a co-owner" to read that "HP was, at least at the

time the Complaint was filed, a co-owner of the '235 patent." (A24-25)

            On August 26, 2005, the district court entered its Judgment dismissing the

action without prejudice. (A 1) On October 18, 2005, the district court denied

Defendants' motion for attorneys fees under 35 U.S.C. § 285 on the grounds that

Defendants were not "prevailing parties" under the statute becausethey had not

obtained any relief on the merits. (A26-28)

            This appeal/bllowed.




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                                       SUMMARY                OF THE         ARGUMENT


          The district         court     erred     in dismissing          IpVenture's       action     for lack of subject


matter     jurisdiction           and lack of standing,             lpVenture           is the sole owner          of the entire


right,   title and interest            in and to the '235 patent.               IpVenture          became      the sole


assignee      and holder           of legal      title as a result        of a valid      assignment        from     Alan


Thomas        and Douglass             Thomas,        the two named            inventors      of the '235 patent.


Therefore,         IpVenture         has both constitutional                and prudential         standing      to bring     and


maintain      this action.


          First,     the district       court      erred    in its legal conclusion           that HP was a co-owner


of the '235 patent             that needed         to be joined         as a plaintiff      in order     for the court to


have     subject      matter       jurisdiction.           The court      reached       this conclusion        after


determining          that the HP-Thomas                    Agreement        constituted      a present        assignment      that


transferred        to HP legal          title to the inventions             claimed       in the '235 patent.          This


ruling     is contrary         to Arachnid.         lnc.     v. Merit     Industries,      Inc.,    939 F.2d       1574 (Fed.


Cir. 1991),        in which         this Court       held that an "agreement                to assign"        is "not an


assignment"          and does not convey                   legal title.     Contrary       to the district      court's


determination,            there     was never        any assignment            of the '235 patent           from Douglass


Thomas        to HP.


           As a matter         of law, the HP-Thomas                    Agreement         was at most an agreement                  to


assign     certain      future      inventions        that might          be made;       it was not an actual




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assignment. The plain language of the agreement - "I agree..,                                                         to assign" - is

precisely the kind of agreement                       to assign              certain     possible      future        inventions       that the


Court       in Arachnid           held did not convey                legal title.          The HP-Thomas                 Agreement


does not include                 any language       indicative               of a present        assignment,           such as "I hereby


grant"       or "I hereby          convey,      transfer      and assign."                 Nor does         the agreement            mention


any specific            rights     to be conveyed           (e.g.,      "my full         and entire         right,     title and     interest"


or "all right,          title and interest").           Yet the district                court     incorrectly          relied


exclusively            on the phrase         that certain          future       developments            "are the sole property                    of


HP" and held that this language                       by itself          constituted            a present      assignment.            But this


language            is effectively      the same      as language                in Arachnid          that the invention              "shall


be the property             of CLIENT,"            as well as language                    in other    cases          applying      Arachnid


and in which             tile courts     consistently         found            no present        assignment            of legal title.


            HP's      lack of any ownership                interest           in the '235 patent             is further     evidenced          by


the parties'          conduct.        HP never      asserted            that it had any ownership                      interest     in the


'235       patent     and never        asked    Douglass           Thomas              for an assignment.               On the contrary,


HP entered             into the 2003         Agreement            and the 2005              Agreement           with IpVenture,              in


which        it expressly          disclaimed      any ownership                  rights    to the '235 patent.


Accordingly,             the district     court     erred         in concluding            that the HP-Thomas                     Agreement


constituted           a present       assignment        of legal title as opposed                     to an "agreement               to




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assign."       The district        court      did not even               consider        the 2005         Agreement,          erroneously


concluding         that it need        not do so simply                  because          it post-dated        the Complaint.


            Second,      the district        court     incorrectly              relied    on this Court's           decision        in


Ethicon,       Inc. v. U.S. Surgical              Corp.,           135 F.3d         1456,      1468 (Fed.          Cir.     1998) in


holding       that dismissal         was required            because             HP was not joined                 as a party.       First,


because        lpVenture's         "constitutional"                standing         as an owner           of the '235 patent              was


not in dispute,          any remaining            issue     was a "prudential"                    issue     ofjoinder.            In Ethicon,


however,        this Court         did not consider                a situation           like the one here involving                     an


absent       alleged     co-owner           that has expressly                  disclaimed         an interest.           Other    courts


faced       with similar         circumstances          have         applied        traditional       joinder        rules and


declined       to join     such a party.             In light of HP's express                     disclaimer        of ownership,               as


well as the corresponding                    releases       of IpVenture                 with respect        to claims        relating          to


the enforcement            of the '235 patent,              HP was not a necessary                         party     under        Rule        19 of


the Federal        Rules      of Civil        Procedure.             Yet the district             court    erred by failing              to


consider        the current        status     of the relevant                 parties     and making          no inquiry          at all into


the Rule        19 factors        that guide         whether         an absent           person     should      be joined           as a party.


            IpVenture        is the sole holder             of legal           title to the '235 patent.              HP is not and


never       has been      an owner          of the '235 patent,                  and because         legal title remained                 with


both       inventors     until     they assigned            all of their rights,              title and interest            to IpVenture,


this Court        should     reverse         the district          court's       dismissal.




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                                                       ARGUMENT


I.         STANDARD                 OF REVIEW


           Whether         a party     has standing        to sue for patent         infringement         is a


jurisdictional         question,       which      this Court     reviews      de novo.         Intellectual       Prop.    Dev.,


Inc. v. TCI Cablevision                 of Cal., Inc.,      248 F.3d       1333,     1339 (Fed.       Cir. 2001);         Rite-


Hite    Corp.       v. Kelley      Co., 56 F.3d        1538,     1551 (Fed.        Cir. 1995).       The legal         effect     of


an agreement           purportedly        transferring         patent    rights    is an issue      of law that this court


reviews         de novo.      Intellectual        Prop.,    248 F.3d at 1339.           Contract       interpretation           is a


question        of law, which          this Court      reviews     de novo.        Dewakuku          v. Martinez,         271


F.3d      1031,     1036    (Fed.     Cir. 2001).

II.        THIS       COURT           SHOULD           REVERSE            THE      DISTRICT             COURT'S


           HOLDING              THAT         THE     HP-THOMAS                AGREEMENT                  WAS       AN


           ASSIGNMENT                   AND       THAT      HP WAS          A CO-OWNER


           A.        IpVenture          Is The Sole Holder               Of Legal      Title     To The        '235 Patent


           Under 35 U.S.C.              § 281,     "[a] patentee        shall have     the remedy           by civil    action


for infringement            of his patent."         The term "patentee"              is defined      as (1) the patentee


to whom           the patent issued,           and (2) successors         in title to the patentee.              35 U.S.C.        §


 100(d).        Thus, "[t]he         general     rule is that one seeking            to recover      money        damages         for


infringement          of a United         States patent        (an action 'at law') must             have     held the legal


title to the patent          during      the time of the infringement."                Arachnid,         hzc. v. Merit




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hldustries,          Inc.,    939 F.2d        1574,     1579 (Fed.           Cir.     1991) (italics      in original).


IpVenture           is the "patentee"           with    respect        to the '235 patent            and has properly              brought

this action.


            Under       federal     law, the presumptive                    owner      of property      rights      in patentable


inventions          - the holder           of legal title - is the person                or entity     to whom            the PTO


issues      the patent.         See, e.g., Arachnid,              939 F.2d at 1578 n.2 ("[t]he                     entity       to whom


the grant         of a patent       is made         by the PTO             [or that entity's    successor          in title]      holds


the 'legal        title' to the patent.");            35 U.S.C.            § 151 (issue      of patent;        notice      of


allowance           given      to applicant).          An inventor            to whom       a patent         is issued      of course      is


free to transfer             ownership        in patents.         As set forth in 35 U.S.C.                   § 261,      "patents


shall      have    the attributes          of personal      property"              and "shall   be assignable               in law by an


instrument           in writing."


            The two named             inventors         to whom            the '235 patent          issued     on April         10, 2001


- Alan Thomas                and Douglass            Thomas        - held legal          title to the '235 patent               until


March        2003. 3 At that time,              both     inventors           assigned      their entire        right,     title and


interest      in and to the patent              to IpVenture               pursuant     to an Assignment                Agreement.



            3 A patented          invention         may be the work of two or more joint                            inventors,
though        each     inventor      need      not have       made          the same      amount       or type of contribution
or a contribution              to every       claim     of the patent.              35 U.S.C.       § 116.      Joint     inventors
apply       for a patent        jointly.      Id.     Each joint           owner      of a patent     owns       an undivided
interest      in the entire         patent,     with the full rights                to make,    use, offer        to sell, or sell the
patented          invention,      "without          the consent        of and without           accounting              to the other
owners."           35 U.S.C.        § 262.



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(A 171-177)             Under        this assignment,              IpVenture              "has succeeded            to all of


INVENTORS'                  right,    title,     and standing            to...       institute        and prosecute          all suits     and


proceedings             under     the Patents"            and "collect,            assert,         or enforce      any claim..,           of any


kind       under     any and all of the Patents,                    whether              arising     before      or after the Effective


Date."        (A172)         The assignment                to IpVenture              was recorded              in the PTO       on April          15,


2003.        (A179-181)              IpVenture        thus is the sole holder                       of legal title to the '235


patent.


            B.          HP Is Not          A Co-Owner               Of '235              Patent


            There       is no question            that IpVenture                 is a lawful         owner      of the '235 patent.


There       is no dispute            that the '235 patent             was duly assigned                      to IpVenture,        at least


through          the assignment            from Alan Thomas.                       Rather,          in challenging         the district


court's      jurisdiction,           Defendants           argued      that IpVenture                  was a co-owner            and that


IpVenture           "does       not own all interest               in the '235 patent,                 and therefore         lacks   standing


to sue."         (A5)     The sole basis             for this contention,                   with      which      the district     court


incorrectly          agreed,         was the argument               that the other                named       inventor,     Douglass


Thomas,            had previously              assigned     his rights            to the '235 patent              to HP in connection


with       his prior     employment               at HP.     Putting             aside     that HP has never              asserted


ownership,           and that HP has confirmed                       in the 2003              Agreement            and 2005       Agreement


with       lpVenture         that HP never           had any such interest,                        HP was never           a co-owner         of


the '235 patent.             Under       Arachnid,          the HP-Thomas                     Agreement           was at most        an




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"agreement to assign," not an assignment. The district court erred in concluding to

the contrary.

                l.      Arachnid And Its Progeny Require Express Conveyance

                        Language To Assign Legal Title.

          Under longstanding principles, "'[t]he legal title to an invention can pass to

another only by a conveyance which operates on the thing invented after it has

become capable of being made the subject of an application for a patent."'

Arachnid, 939 F.2d at 1581 (citation omitted). As explained at length in Arachnid,

express conveyance language is required to effect a transfer of legal title. Because

such language is missing in this case, as it was in Arachnid, there was no transfer

of legal title to HP.

          In Arachnid, a judgment was entered for patent infringement. The defendant

argued that it could not be liable for patent damages for the period before the

plaintiff obtained legal title to the patent. This Court agreed and reversed, noting

that although "the facts regarding standing were essentially undisputed, we hold

that the district court incorrectly applied the governing law to those facts." Id. at

1582.

          The plaintiff in Arachnid argued that it automatically acquired rights to the

invention at issue under an agreement with its consultant, IDEA. This Court stated

that "we view as untenable Arachnid's position when IDEA signed the agreement



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in 1980 it automatically divested itself of any and all rights to inventions that might

be developed under the agreement or to patents to issuethereon." Id. at 1580.                                                   The


agreement         provided         that "[a]ny    inventions          conceived      by IDEA          or its employees...


shall    be the property           of CLIENT           [Arachnid],       and all rights        thereto     will be assigned


by IDEA...           to CLIENT."            ld. at 1576 (emphasis               added      in opinion).         This    Court


explained        that:


          [T]he      fact remains         that the Arachnid/IDEA                consulting          agreement      was an


          agreement          to assign,      not an assignment.              Its provision          that all rights     to


          inventions        developed        during      the consulting         period      'will be assigned'           by


          1DEA       to Arachnid          does not rise to the level              of a present        assignment        of an


          existing       invention,       effective      to transfer     all legal and equitable             rights     therein


          to Arachnid         and extinguish            any rights      of IDEA.         Nor does the provision


          amount         to a present      assignment          of an expectant          interest.      [Citation       omitted]


          Although         an agreement          to assign       in the future      inventions         not yet developed


          may vest tile promisee               with     equitable      rights     in those     inventions        once made,


          such     an agreement           does not by itself vest legal              title to patents        on the


          inventions         in the promise:           'The legal      title to an invention             can pass to another


          only by a conveyance                which      operates      on the thing        invented        after it has


          become         capable      of being        made     the subject      of an application          for a patent.'




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Arachnid,       939 F.2d at 1580-81                 (citations      omitted)         (italics     in original).      Because         the


agreement       in question         was only an agreement                     to assign,        and not a present


assignment,       the plaintiff         in Arachnid           could        not recover      damages         for the period          of


infi'ingement         when     it did not hold            legal title to the patent.


                   2.         The       '235     Patent      Was      Never        Assigned        To HP.


           Arachnid      controls        this case.        The plain         language       of the HP-Thomas


Agreement        is not a present              assignment         of patents.         In describing        "Proprietary


Developments,"            the agreement             states    "Such        Proprietary          Developments         are the sole


property      of HP, and I agree:


                   a.         to disclose         them       promptly        to HP;


                   b.         to assign          them     to HP; and


                   c.         to execute          all documents             and cooperate          with    HP in all necessary


                              activities         to obtain       patent,     copyright,         mask work         and/or    trade


                              secret      protection         in all countries,           HP to pay the expenses."


(A111)       (emphasis        added).

            By its own express            terms,      the agreement               is at most      an agreement        to assign.


Indeed,      that is exactly        what the agreement                  states:      "I agree...to        assign."     There        is


no present      action       - no grant,         no conveyance,              and no transfer          of anything.         Nor are


there     any specified        rights     or quantum           of rights       mentioned,          such as "all right,         title or


interest"     in the '235 patent,              or any other        patent.        The agreement           simply     describes




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matters subject to the agreement and then states certain actions the employee

agreed to take in the future. In addition                          to the future              act of assigning      the covered


developments,             other    future     acts are specifically                 contemplated           in subsection          (c),


which       indicates       a further       agreement       "to execute"              other      documents       to obtain


intellectual         property      protection.       Without             words       of present      conveyance        or language


expressly       conveying          and assigning          specific         rights     from       one party     to another         (e.g.,      "I


hereby       grant..,        my full and entire           right,     title and interest"             or "I hereby      convey...


all right,     title and interest"),           the agreement              itself     has no impact           on the legal         title to


any invention.             The absence         of such language                is dispositive.


           In concluding           that the HP-Thomas                Agreement                was an assignment,           the


district     court      relied    not on the "I agree:             ...     to assign"          language,      but on the


statement        that "Such        Proprietary          Developments                are the sole property           of HP ....            "


First,     this language          cannot     be held to constitute                  sufficient      conveyance       language.                In


the context          of an agreement           concerning          future          developments,           the language        "are the


sole property           of liP"    at issue      here and "shall             be the property           of CLIENT"            in


Arachnid        are the same.           Both     are descriptive             of a potential          expectant      interest        in


something         that might        become        subject     to the agreement                   in the future    and might              then


be the subject           of a later assignment              of legal title.           What       is key is the language


containing        the active        verb, the operative             agreement            of the parties.         In Arachnid,


this was the agreement                  that applicable        inventions             "will be assigned."           Language




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having the same meaning is used here- "agree...                                  to assign." And even assuming

this language conveys some equitable rights in inventions once made, as the court

in Arachnid          explained,       "such    an agreement            does not by itself           vest legal      title to


patents     on the invention           in the promisee."            Arachnid,       939 F.3d at 1581 (emphasis


in original).


           Second,       IpVenture       is aware       of no case holding             language        such     as that at issue


here to be a present            assignment         of legal title.       Indeed,       a district      court    applying


Arachnid        to a contract         which    provided        that inventions          "belong        to" a third party


held that such         language        did not constitute           a present      assigmnent          of legal     title.     In


Freedom         Wireless,       Inc. v. Boston        Communications               Group,      Inc.,    220 F. Supp.2d              16


(D. Mass.       2002),      the defendant          alleged     that the plaintiff         Freedom         Wireless        did not


own the patent-in-suit               because       one of the inventors            allegedly        had assigned         the


invention       to their previous            employer        as part of an employment                  contract.        The


contract     in question          provided       that all inventions          "conceived        or made         by the


Employee         during      his or her employment               period       belong     to the Company.                The


Employee         will promptly          disclose      such inventions..,               and perform            all actions


reasonably          requested        by the Company            to establish      and confirm           such     ownership,


including       but not limited          to cooperation          in connection          with the Company's


obtaining       patent      and/or     copyright        protection."      Id. at 18 (emphasis                 added).        The


district    court     followed        Arachnid       and held that the contract                in the case was merely




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"an agreement by [the employee] to assign his invention to [the employer] at some

point in the future and not an actual present assignment." Id. at 19.

            As the court          in Freedom            Wireless         explained:           "In order      for a pre-invention


assignment          contract          to create      a present        assignment            of an expectant           interest      in an


invention        that automatically                 vests     by operation           of law into an actual                assignment


upon       conception,          the contract          must contain              words      of present      conveyance             and must


require       'no further        act once         an invention           [comes]          into being.'"         Id. (quoting        Filmtec


Corp.       v. Allied-Signal,             hTc., 939 F.2d             1568,       1570 (Fed.      Cir.     1991 ) ("Filmtec             P').


The court         reasoned            that "[t]he     agreement               in this case,    which       states    that 'all


inventions         belong..,             to the Company,'                and which          requires      future     acts by the


inventor        such as 'disclos[ing]'                the invention             and 'perfonn[ing]'              actions     necessary            to


establish        ownership,            is not sufficient            to convey        legal title to the invention."                   Id.


The court         held that the employment                      contract          thus     "did not contain          terms       sufficient


to convey         legal      title"     to the previous             employer.            Id. at 20.     The Freedom              Wireless


case       is particularly        instructive         and pertinent              to this case,        because       the "belong         to the


Company"            language           at issue      is effectively            the same       as the "are the sole property


of" language           in the HP-Thomas                     Agreement.


             The district        court's     decision         here is directly             at odds     with Arachnid,             Freedom


Wireless,         as well as the numerous                     other      cases     holding      that agreements              lacking        an


express        conveyance              do not constitute             present       assignments.           When       such language                is




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missing,             the cases     all come        out the same           way,     finding      no present        assignment            of


legal       title.     See Gaia         Techs.,     Inc. v. Reconversion                Techs.,     Inc.,       93 F.3d 774,          779


(Fed.       Cir. 1996)           (holding       that "an agreement                to assign      is not an assignment                 and


thus       did not vest legal               title in [the plaintiff]");            Ellison      Educ.      Equip.,      hlc.    v. Chen,


2004        WL 3154592,                *4 (C.D.      Cal. Dec. 21., 2004)               (district       court    rejected       ownership


challenge;             agreement         that provided         in part that plaintiff              "will     assign     to [Fremont


Machine]              all rights      in and to any inventions..,                    merely       is an agreement              to assign,


not an assignment.");                    Sigma      Eng'g     Serv.,          Inc. v. Halm      Instrument           Co., 33 F.R.D.


129 (S.D.N.Y.                 1963)     (defendants         contended            that inventors         who assigned             to


plaintiffhad             worked         at Coming        "under        an agreement             obligating       them      to transfer            all


patent       rights       to inventions           made    while      in its employ,"            but court        denied        motion        to


dismiss         stating       "[n]o     such transfer         was      made       in this case.").


                         3.           The     Dislriet    Court          Incorrectly         Relied        On Speedplat,              and


                                      Filmtec


             In deciding           not to follow         Arachnid,             and in concluding            that the HP-Thomas


Agreement               was not an agreement                to assign,           the district     court      principally        relied on


this Court's            decisions        in Speedplay         and Fihntec.             Both cases           are inapposite.            Both


Speedplay              and Fihntec           involved     agreements             that did contain           the critical


conveyance               language           that is missing        in this case.




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            In Speedplay,          hm.    v. Bebop,       Inc.,     211 F.3d        1245   (Fed.     Cir. 2000),          the Court


explained        how the agreement                 vesting    rights       in the plaintiff      in that case contained


language        that    "differs      significantly"         from the language             at issue    in Arachnid.            Id. at


1253.        The language           at issue     in Speedplay          provided       that inventions            "shall    belong


exclusively        to [Speedplay]              and [inventor]          hereby      conveys,      transfers        and assigns            to


[Speedplay]...             all right,     title and interest           in and to Inventions."              Id.    Thus,      the


agreement         in Speedplay           contained        the "shall       belong"      language,         a phrase        almost


identical      to the phrase          "shall     be the property           of CLIENT"           present      in Arachnid).


But the agreement                 also provided        that the inventor            "hereby      conveys,        transfers         and


assigns..,         all right,       title and interest            in and to" the inventions               to Speedplay,            key


language        missing          here and in Arachnid.              Id. (emphasis          added).        This express


language        specifically         conveying,        transferring          and assigning         legal title thus was


essential      to, indeed          determinative        of, the holding            in Speedplay        that the agreement


was a present           assignment.


            The Speedplay            panel     followed       this Court's         decision      in Filmtec        Corp.      v.


Allied-Signal,           Inc.,    939 F.2d       1568 (Fed.         Cir.    1991)    ("Filmtecr').           In FilmtecI,            the


Court       reversed      the entry      of a preliminary             injunction      because        of questions


surrounding            the plaintiff's       title to the patent.           The Court         explained      that the district


court's      evaluation          of likelihood       of success        on the merits          was called         into question


because       plaintiffwas           party     to an agreement             that explicitly       provided        that the entity




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"agrees to grant and does hereby grant to the Government                                                   the fdl      and entire


domestic        right,     title and interest"                   in inventions          made     in the course          of the contract.


/d. at 1570 (emphasis                    added).           The agreement              thus     "did not merely            obligate     MRI       to


grant      future      rights,     but expressly             granted             to the Government              MRrs      rights     in any


future      invention."           Id. at 1573 (emphasis                      added).


            Moreover,            the work          in question            in Fihntec         also was performed             under      a


research       contract          with     the government                  under      a federal       statute    vesting     the


government             with title to inventions.                     See Filmtee             Corporation         v. Hyrdanautics,               982


F.2d       1546,      1553 (Fed.           Cir.      1992) (Filmtec               I1) ("Under        the FNERDA,            title to


inventions          made         by an employee                  hired      to perform        that research          automatically


vested       in the United              States.").         The Filmtec             I Court     therefore        distinguished         the case


of Sigma        Engineering,               33 F.R.D.             129, in which           (as in this case)           "no such transfers


of title were          made."           Fihntec          I, 939 F.3d at 1573.


            In the present           case,         the district          court     erroneously        concluded         that the


language           in the HP-Thomas                      Agreement           was more         analogous         to the contracts           in


Fihntec       and Speedplay,                    rather     than Arachnid.              In making         such comparisons,              the


district      court      focused         on the phrase              "are the sole property               of liP"       rather      than the


key language              "I agree        ...      to assign."           The district        court     stated    that the language              in


Speedplay           - "shall       belong"           and "hereby             conveys,        transfers     and assigns"-             was


"more        similar      to that at issue               here"     (i.e.,    "are the sole property               of liP").        (AI 8).




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The remainder           of the agreement,            according          to the district         court,     was simply          "the


process       to be followed           on the creation         of the inventions."               (ld.)     But the district


court's    reliance     on Speedplay             to conclude          that the phrase       at issue         in this case


constitutes      an effective          present     grant conflates          the similar          descriptive        language          in


Speedplay,        "shall      belong       to," with the express           grant      "hereby       conveys."             Indeed,      the


agreement        in Arachnid           included      the similar        language        "shall     be the property             of


CLIENT,"         but that language               was held not to change                the character          of the agreement


from an agreement               to assign.        See also Freedom              Wireless,        Inc.,     220 F. Supp.2d              at


18 (contract         providing         that "all inventions           belong     to the Company"                 not an


assignment)          (emphasis         added).      Moreover,          the district      court's         interpretation


improperly        renders          superfluous      the key "agree          to assign"          language.         See Cal. Civ.


Code      § 1641      ("The        whole    of a contract       is to be taken          together,         so as to give effect


to every      part, if reasonably            practicable,       each clause           helping      to interpret       the other.").


It does not make              sense    for an agreement           to contain          an agreement            to assign       if the


subject     matter     had already          been    assigned.


          IpVenture           is aware      of no case where            the court      held a descriptive             phrase        like


the one at issue           here,      or the use of the word            "are" by itself,          constituted        an


immediate,         automatic          assignment       of all right,       title, and interest             to a patent


application        and all subsequent              patents     issued     therefrom.         Speedplay            and Filmtec,


and all other         cases     finding      assignments        to have        been     made,      turned       on the presence




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or absenceof language conveying specific rights, such as "hereby conveys,

transfers and assigns..,                   all right, title and interest" (Speedplay) and "does hereby

grant..,           the full and entire domestic right" (Filmtec). This language is totally

absent from the agreement at issue here. Like the agreement in Arachnid,                                                     the HP-


Thomas           Agreement          is at most         an agreement         to assign,        not a present        assignment           of


legal     title.


                       4.        California            Cases     Are Consistent               With   Arachnid


           The Federal           Circuit      and district        court     cases described             above   do not expressly


state whether           they are applying               state or federal          law to the question           of whether            an


agreement            is a present      assignment           of legal title or an agreement                  to assign.        While


issues     of patent        law and policy,             and standing,         are of course          governed       under federal


law,     the Federal         Circuit     has stated         that "[s]tate        law govenls         contractual        obligations


and transfers           of property          rights,    including        those     relating     to patents."        Regents        of


The      Univ.      of New      Mexico        i,. Knight,      321 F.3d          ! 11 1, 11 18 (Fed.       Cir. 2003).           In


reviewing           pertinent      California          law, however,         IpVenture          has not discerned            a


meaningful            difference       from the principles                in Arachnid         and the other        federal       court

decisions           described       above.


           When        considering           California        cases    in the context          of intellectual         property


disputes           over ownership,           it is important           to bear in mind          that these      cases    by their


very nature           are not examining                whether      a particular       party     held     legal title to a patent




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at a particular point in time to qualify as a "patentee" under federal law. Rather,

they are typically contract disputes over "ownership"                                 to intellectual         property


between       the parties     to an agreement.              The matters         at issue       thus encompass             all rights


that one party          may have       against      the other contracting             party,    both     legal     and


equitable.       Nonetheless,          California      case law reveals              that an express          assignment


with     operative       conveyance        language       is contemplated             in order to transfer           legal     title


under      California      law, as well.


           For example,           a case involving        language          almost     identical       to that here,        and in


Arachnid,       is Gro_,e v. Grove           Vah,e & Regulator                Co., 4 Cal. App. 3d 299,                   84 Cal.


Rptr.     300 (1970).        Grove      was the founder            of the defendant            company         and an


inventor      on certain      inventions         that he made         and patented.            Under     certain


agreements,          Grove    agreed     that specific          inventions       and improvements                relating     to o-


ring valve      seals     "shall    be the sole and exclusive                 property     of [the defendant],               and


Grove      agrees       to assign     the same       to [defendant],          together      with all United          States        and


foreign      Letters     Patent     and applications            thereon."      Id. at 306, 84 Cal. Rptr.                 at 303


(emphasis       added).       This     language       provided       the employer           with    an equitable          interest,


but not legal          title to, the inventions.          In connection           with     the employer's          claims


seeking      an injunction          to compel       Grove       to transfer     the patents,        the trial court


"concluded          that defendants        were      entitled     to ownership           of the [] inventions..,               and


to assignment           from plaintiff      of all such patents             and patent         applications        provided




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that defendants            reimburse         plaintiff      for the patent            expenses      incurred        by him..."              Id.


at 314,      84 Cal. Rptr.         at 309 (emphasis                added).       The Court         of Appeal         affirmed         the


trial court's     judgment,           including          the condition          that expenses          be reimbursed            to


Grove        as a condition        precedent          to the transfer           of the patents.         Thus,       the court's


decision       indicates      that the defendant                 employer        did not already            hold legal    title to the


inventions        at issue    because         there      had been           no assignment.          Rather,      the employer


only had an equitable                right    to ownership             under      the agreement,            which     the court


enforced.        Further      steps     would      be needed               in order    to obtain     the injunction           requiring


transfer      of title to the patents,            including           the payment         of expenses          the inventor


incurred       in obtaining          and maintaining               the patents.


            In Cubic       Corp.     v. MarO,,         185 Cal. App.            3d 438, 229 Cal. Rptr.                828 (1986),


express       conveyance           language       was present,              and predictably         the court        reached         a


different      result.     In Cubic,         an employer              sued for breach         of an employment                contract


and a declaration            that it owned            certain      patents      for inventions         created       by its


employee         during      employment.              The employee               signed     an invention         and secrecy


agreement         that provided          in part that certain                inventions      subject        to the agreement


"shall      be the sole and exclusive                  property        of Company,           and Employee             assigns         and


hereby       agrees      to assign     his entire         right,      title and interest         in and to the same              to


Company."             Id. at 444, 229 Cal. Rptr.                   at 830 (emphasis           added).         The court        ruled        in


favor       of the employer           because      this agreement               contained        specific     conveyance




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language       - "assigns...              his entire      right,        title and interest,"          a point    the trial court


highlighted          in ruling         on a motion       for summary               adjudication.            /d. at 446, 229 Cal.


Rptr.      at 832 ("The           summary        judgment           order       stated    the Agreement           'conveys       by its


terms      the entire        right,     title and interest'         in the invention              to Cubic.")      (italics     in


original).


           In contrast,         in Shaw         v. Regents         of the University             of California,         58 Cal. App.


4th 44 (1997),            the court       examined            an agreement             which     only contained           an


agreement          to assign          inventions,      and held that the agreement                      did not automatically


transfer      ownership           in the inventions.               The court          explained:


            "The     clear     language         of the patent           agreement          does not, as the University


           argues,       effect       a contemporaneous                 and 'complete            transfer     of plaintiffs          rights


           to the University.'              Accordingly,            the University's              reliance      upon    cases    in


           which        the parties'       agreement           so provides            is misplaced."


Shaw,        58 Cal. App.             4th at 53.      One of the cases                cited in which         the agreement            "so


provides"          was Cubic,           which       as noted       above       contained         an express      conveyance.             The


Shaw       court     thus     distinguished           other    cases         involving      contracts        that did expressly


transfer      rights,       reaffirming         the principle           that an express            conveyance          is required        to


effect      a transfer       of ownership.


            As with         the federal      cases discussed                 above,      California     case law consistently


contemplates             some act that represents                   a formal          transfer     of legal title.      Absent




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language         evidencing        an act of assignment,             the HP-Thomas              Agreement          does not


convey       legal      title from one party          to another,       but is at most,         as a matter        of law, an


agreement          to assign.        No assignment          to HP was ever made,                  and none       was ever


requested.           Legal     title remained        at all times      with Douglass            Thomas         and Alan


Thomas,         until     the two named         inventors         assigned      all rights,     title and interest          in the


relevant        patents      to IpVenture.       The district         court's     holding      to the contrary           was error


and must         be reversed.


           C.         The Conduct            Of The Parties           Contradicts           The    District       Court's


                      Ruling      And     Evidences         The     Lack      Of An Assignment                 Of Legal          Title


           In deciding         whether       the HP-Thomas            Agreement         was an agreement                 to assign


or an already           completed        assignment       of legal        title, the district      court     declined       to


consider        the conduct          of the parties     after the agreement.                See Morey          v. Vannucci,        64


Cal. App. 4th 904, 912 (1998)                     ("The      mutual       intention     to which          the courts     give


effect     is determined          by objective        manifestations            of the parties'      intent,     including         the


words      used      in the agreement,          as well as extrinsic             evidence       of such      objective


matters      as the surrounding              circumstances          under       which   the parties         negotiated        or


entered      into the contract;           the object,     nature      and subject       matter       of the contract;            and


the subsequent             conduct      of the parties.").         This      evidence       contradicts        the district


court's     ruling        and further     supports      the conclusion           that there       was no transfer           of legal


title.




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           In particular,          the district     court      expressly        declined       to consider           the 2005


Agreement         between           HP and lpVenture.                 One of the clearly               stated     purposes       of this


agreement         is to resolve            the ownership        issues        that arose as a result              of Defendants'


allegations       "once      and for all times."               (A209)         This    agreement           specifically        recites


that     IpVenture      is the "sole assignee"                 of the '235 patent.             (ld.)      The agreement              also


confirms       that "HP has never                 asserted     any ownership               fights"      in the '235 patent             and


that HP "has no rights..,                    and never        has had" any ownership                     interest     in the '235


patent.      (A210,¶        2.2)     HP further          specifically         "releases,      acquits,          absolves     and


forever      discharges        IpVenture          of and from           any and all manner                of claims         relating      to


the lpVenture          Patents..."             (A211,        ¶ 2.4)     HP made        similar         agreements           in the 2003


Agreement         as well.          In that agreement,              HP acknowledged                  that IpVenture           was the


owner      of patents       relating         to thermal       management             and released          any claims          "arising


from or with         regard        to...      attempts       to enforce        the IpVenture            Patents."          (A1025,


¶ 2.2).


           Such   express          disavowal        of any rights            to the '235 patent           highlights         how the


HP-Thomas            Agreement             did not constitute           a completed           assignment            of the '235


patent.      These     agreements             are consistent          with     the fact that the '235 patent                  was the


result    of patent     applications            filed by Douglass              Thomas         and Alan Thomas,                 and


prosecuted        by Douglass              Thomas        entirely      on his own time and at his own expense.




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Indeed,       the prosecution           of the '235 patent           took place          in 1999 until        the patent      issued


in 2001,       all well after Douglass               Thomas        had left HP.


III.       EVEN           ASSUMING             I-IP WAS         A CO-OWNER,                  THIS      COURT            SHOULD


           REVERSE             THE       DISMISSAL               BECAUSE             HP WAS           NOT       A


           NECESSARY                  PARTY


           After     concluding         that HP was a co-owner                  as of the time the Complaint                   was


filed,    the district       court    issued       an order stating:         "As HP is not joined               as a Plaintiff,


the action         must     be dismissed         without       prejudice."         (A23)      Ill dismissing         the action,


the district        court    stated    that it was applying              the rule set out in Ethicon                that "all co-


owners       must     ordinarily        consent      to join     as plaintiffs       in an infringement             suit."


Ethicon,       135 F.3d at 1468.               Because       HP was not a party,              the district      court


incorrectly         concluded         that tile action       must be dismissed.               In light of HP's express


disclaimer         of an ownership             interest,    the district       court's     reliance     on Ethicon           was


misplaced          and the court's           dismissal     must be reversed.


           In ruling        on Defendants'          motion       to dismiss,       the district       court    only considered


whether        IpVenture        had sole ownership               of the '235 patent           at the time the complaint


was filed.         The district        court    erroneously         declined       to consider        events     that post-


dated      the filing       of the complaint,            and erred       in not analyzing         whether        HP was a


necessary          party    under     Rule     19 of the Federal           Rules     of Civil Procedure.              While        all


co-owners          of a patent        ordinarily      must join in an infringement                    suit in the typical




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case, this principle has no application in a situation like that presented here, where

the plaintiff is a patentee with constitutional standing to sue and the absent "co-

owner" has disclaimed an ownership interest. The Federal Circuit did not address

this question in Ethicon,                 and IpVenture          does not believe           that this Court           has


addressed         the issue      in any other        of its decisions.           Other     courts,     however,        that faced


similar      circumstances          have        held that the appropriate            inquiry         is the analysis        under


Rule       19 - whether         the absent        party    is a necessary        party.     Given         HP's   disclaimer         of


ownership          of the '235 patent,            HP is not a necessary            party     and its joinder           would


serve      no purpose.          The district       court     therefore     erred    in dismissing            IpVenture's

action.


           A.        IpVenture            Has    Constitutional           Standinl_        As a Patent           Owner


           "The     doctrine      of standing        limits    federal judicial           power       and has both


constitutional         and prudential            components."            Media     Techs.      Licensing,        LLC        v. Upper


Deck       Co., 334 F.3d          1366,     1369 (Fed.        Cir. 2001).        Constitutional            standing      only


requires        that a plaintiffsuffer            an injury-in-fact,         that there      be a causal         connection


between         the plaintiffs       injury      and a defendant's           conduct,       and that the plaintiffs


injury      be capable         of redress       by a favorable       court     decision.          Ltyan     v. Defenders         of


Wildlife,       504 U.S.       555,560-61           (1992)     (setting     forth requirements              for constitutional


standing).         Even    assuming           HP was a co-owner,             IpVenture         holds       an undivided


interest     in the '235 patent            at least through         its assignment          from       Alan Thomas.             As a




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successor in legal title, lpVenture is a "patentee" with constitutional standing to

sue. See, e.g., 35 U.S.C. § 281 ("patentee" may bring infringement action); 35

U.S.C. § 100(d) (defining term "patentee" as including "successors in title" or

assigneesto the patent); Intellectual                             Prop.        Dev.     v. TC1 Cablevision,                   248 F.3d      1333,


1348       (Fed.      Cir. 2001)          (explaining         that a patentee             "is constitutionally                injured     by


another        entity      that makes,         uses or sells the invention.").                        Constitutional             standing


thus       is not at issue.         Defendants           conceded              this point       at the hearing          before      the


district      court.       (A247)


             B.         HP's      Alleged       Absence               Raises     Only       "Prudential"              Issues      Of Joinder


            Because           IpVenture        met the constitutional                   requirements            for standing            from the


outset       of the case,        the issue       that remains              is a prudential           issue     ofjoinder-           whether


all the necessary               parties     were     before           the court.       The district          court,     however,          did not


perform           any joinder       analysis.           Rather,         in dismissing,           the district         court     incorrectly


applied        a per se rule that the absence                         of a party       who may have              been         a "co-owner"


when        the complaint           was filed        requires           dismissal.

             To the extent          that the issue          of absent           co-owners          is considered              in the context


of IpVenture's             "standing,"         which       IpVenture             has as an owner              of the '235 patent,               the


issue       raises     only     "prudential"         considerations.                  Issues     of prudential          standing


typically          arise   in a different          context,           such as when             a lawsuit      is brought         by an


exclusive            licensee     without       the patent            owner.       Unless        an exclusive           licensee        holds     all




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substantial         rights     to a patent       in an agreement          that is tantamount           to an assignment


for standing         purposes,        the patent       owner       must be joined        as a party         in a suit by an


exclusive       licensee.          Vaupel      Textihnaschinen           KG v. Meccanica             Euro      Italia    S.P.A.,


944 F.2d       870, 875 (Fed.              Cir. 1991).      As this Court          explained       in hTtellectual


Proper      O, Development,               248 F.3d at 1348,           "[t]he   general     principle        set forth     in [the


Supreme        Court's         decision      in] Independent          Wireless      requiring      that a patent         owner


be joined,      either       voluntarily         or involuntarily,        in any infringement               suit brought         by


an exclusive          licensee      having        fewer    than all substantial          rights    is prudemial          rather


than constitutional."               See also Prima           Tek lI, L.L.C.         v. A-Roo      Co., 222 F.3d           1372,


1377 (Fed.          Cir. 2000)        (setting     forth   basis     for Article     III standing        of patentee           and


explaining          that general          rule requiring     joinder      of patent      owner      is "prudential            rather


than constitutional              in nature").         Prudential      concerns      include       ensuring      that the


"patentee"          is a party     to the suit, as well as the factors                set forth     in Rule       19 that are


aimed       at avoiding         the risk that a defendant              will be subject         to multiple       lawsuits        and


protecting       the interests            of absent    parties.


           Issues     of prudential           standing,     however,       may be cured           by events       that occur


after the filing         of the complaint             or, if necessary,        redressed       through       joinder     of


parties.      Once      a plaintiff        has constitutional          standing,      such as IpVenture,               "any


prudential          standing      concerns        may be overcome              by adding       a plaintif      with proper


standing."          Schreiber       Foods,        flTc. v. Beatrice       Cheese,      Inc., 402 F.3d          1198,      1203 n.4




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(Fed. Cir. 2005); see also Mentor                        H/S, Inc. v. Med.                  Device      Alliance,        Inc.,     240 F.3d


1016,       1019 (Fed.          Cir. 2001)       (exclusive           licensee        had constitutional             standing;           court


allowed        motion      to join      patent      owner,          even       after appeal);        Abbott      Labs      v. Diamedix


Corp.,       47 F.3d      1128,      1133     (Fed.     Cir.        1995) (reversing               denial    of a patent         owner's


motion        to intervene);         Fed. R. Civ. P. 21 ("Parties                         may be dropped             or added          by


order       of the court        on motion        of any party                 or of its own initiative           at any stage            of the


action       and on such terms              as are just.").


            The district        court    in this case,             however,         incorrectly        concluded         that events


that post-dated           the complaint,            including            HP's express          disclaimer         of any ownership


interest,      should     not be considered               at all.          In particular,          the court     refused         to consider


the 2005        Agreement           between         IpVenture             and HP which              stated     that HP has not


claimed        any ownership             interest      in the patent,             and released         claims       relating       to the


enforcement            of the IpVenture             Patents.          (A209-214)             The district        court       stated      that


"[t]he      agreement       reached         in April      2005           need     not be considered             because          the


Complaint           was filed in August               2003."          (A20)        The court         explained        that


"acquisitions           of rights       in the patents             at issue      subsequently          do not cure standing


defects,       even     if the assignments              are 'retroactive.'"                (Id.)    This     statement         is incorrect


as a matter         of law when           the issue      presented              is not constitutional            standing,         hut


prudential.           Indeed,     the court's         error        is highlighted          by the court's         citation        of two


cases       which     both addressed             constitutional                standing     defects.         See Gaia        Tech.,      93




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F.3d at 779 (plaintiff              did not own patent           sued on and hence               lacked      constitutional


standing);         GAF Bldg.        Materials       Corp.      v. Elk Corp.       of Dallas,       90 F.3d 479 (Fed.


Cir.    1996)      (complaint        filed before      valid    patent     had issued        dismissed           for lack of


subject      matter     jurisdiction       and lack of Article            III constitutional          standing).


           C.         The Distriet         Court      Erred      In Not PerforminR                Any       Analysis       Of


                      Whether          HP Was         A Necessary         Party        Under     Rule       19


           Moreover,        the district      court    erred     as a matter       of law in failing             to perform     any


analysis        as to whether         HP was a necessary             party     under      Rule    19 of the Federal


Rules      of Civil Procedure.             While      all patent     owners       ordinarily       must      consent       to join


as plaintiffs,        as set forth in Ethicon,           it is not ah4,ays         the case that all persons                labeled


a "patent        owner"     automatically          should      be considered            a necessary        party.    For


example,         when     an absent        co-owner      has disclaimed           an interest,        or the defendant           is


not at risk of being             subjected      to nmltiple        lawsuits,     joinder       should      not be necessary.


           The Federal           Circuit   has not addressed             this specific       question,       and did not


address         it in Ethicon.       In Ethicon,       an unnamed            inventor      on a patent        was held to


have      been     an inventor,        and hence       an owner         of the patent.         Because       the unnamed


inventor         had not consented           to be joined        in the infringement             suit, and had expressly


licensed         his inventions        to the defendant,         the court       dismissed        the action.        Ethicon,


135 F.3d at 1468.             Ethicon,       however,         did not involve           a situation       where     an absent




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party disclaimed its ownership interest nor did it address the question of whether

an action could proceed in the absence of such a party.

            Other courts considering the question in similar circumstances have treated

the issue as one ofjoinder under Rule 19 of the Federal Rules of Civil Procedure

and held that an absent co-owner is not a necessary party. "Since the introduction

of Fed. R. Civ. P. 19 and the 1966 amendments to the rule, however, courts are less

concerned with abstract characterizations of the parties and are more concerned

with whether the rights of the parties can be fairly adjudicated absentjoinder of the

patent co-owner." E-Z Bowz, L.L.C.                          v. Professional          Prod.    Research       Co., 2003         WL


22064257         (S.D.N.Y.      Sep. 5, 2003)          (internal        quotations      omitted)        (court    denied


motion       to dismiss      for failure      to join patent       owner       who transferred            interest     in patent


after suit commenced;             such a person             was not an indispensable               party     under      Rule     19


and need       not be joined).        When       the absent        party     does not claim            an interest      in the


proceedings,        or the defendant           is not subject           to a risk of multiple          or inconsistent


obligations,      joinder     is not necessary.             See Rawlings          v. Nat7      Molasses          Co., 394 F.2d


645,647-48         (9th Cir.     1968) (reversing             dismissal       of patent       infringement           action    for


lack of an indispensable              party    where        joint-owner       refused        to join    action    as a


plaintiff      and instead     assigned        its interest      in the patent        to the plaintiff       after the


action      was commenced);           Agilent       Techs.,      hlc.     v. Micromuse,         hzc., 2004        WL


2346152        (S.D.N.Y.       Oct.   19, 2004)        (denying          motion      to add HP as necessary                party;




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"where the co-owner of a patent or other entity whose interest in a patent might be

directly affected by litigation has specifically disclaimed all interest in pursuing

litigation related to the patent in favor of the party who has brought the suit, courts

have held that joinder of the co-owner or other entity is not necessary."); E-Z

Bowz,       2003      WL 22064257              at * 3-*4;      Michaels       of Oregon          Co. v. Mil-Tech,              Inc.,


1995 WL 852122,                   38 U.S.P.Q.2d           1060 (D. Or. 1995) (denying                    motion        to dismiss


for lack of subject             matter     jurisdiction        and failure        to join    indispensable             party     for


failure     to join      absent     co-owner         who had relinquished              the capacity            to file an


independent            claim      for patent     infringement);           International        Business         Machines


CoJp.      v. Conner          Peripherals,        hzc.,   1994 WL 409493,               30 U.S.P.Q.2d                 1315 (N.D.


Cal.      1994)      (court    denied      motion      to dismiss        patent     counterclaim         for failure           to join


co-owner          who had given            up the fight        to sue in favor         of the other          co-owner;          patent


defendant          "does      not face a substantial            risk of incurring           double,      multiple         or


otherwise          inconsistent         obligations").


           Here,      HP cannot          be deemed        a "necessary        party"        under     Rule     19. Rule          19


only      requires      joinder       when     "(1) in the person's          absence        complete         relief    cannot          be


accorded          among        those already        parties"     or "(2) the person            claims        an interest        relating


to the subject           of the action"         that it cannot         adequately      protect        absent    joinder         or


which       will expose           the present       parties    to a "substantial          risk" of multiple             or


inconsistent           obligations.          Fed. R. Civ. P. 19. In this case,                 complete          relief      can be




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accorded       between          IpVenture        and Defendants,            and HP has no interest,                 and has


never      claimed       an interest,        in the '235 patent.           See Altmann            v. Republic        of Austria,


317 F.3d 954, 971 (9th Cir. 2002),                         affd,      124 S. Ct. 2240         (2004)      (A finding         that a


party      should      be joined      under      Rule     19 is "contingent            upon      an initial      requirement


that the absent           party     claim     a legally     protected       interest     relating      to the subject          matter


of the action.").


           The only        parties     contending          that HP has an ownership                   interest     are the


Defendants.             Yet in an agreement               with     the stated     purpose        of resolving        "once     and


for all times"          the ownership           questions          that arose     from Defendants'            allegations         in


the case,      HP affirmatively               disclaimed         any ownership          rights      in the '235 patent.


(A209-210,            ¶ 2.2.)     HP also affirmatively                stated     that it "releases,       acquits,      absolves


and forever           discharges       IpVenture          of and from any and all manner                      of claims


relating      to the IpVenture              Patents."       (A211,      ¶ 2.4.)     HP has explicitly             disavowed            any


ownership            and hence       could      not have      any interest         to protect.        Where       the nonparty          is


aware       of an action          and chooses       not to claim          an interest       in it, the non-party          is not a


"necessary           party."      Altmann,       317 F.3d at 971 (holding                 that non-party           who held


25%       interest      in disputed      property         was not a "necessary"               party    because        non-party


was aware            of the action      yet never         asserted      a claim);      see also cases            cited supra.


This    same         conclusion       applies     with     full force here.          Accordingly,          the district        court's


dismissal       for failure        to join      HP was improper.




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         Moreover, the district court here did not even examine the factors under

Rule 19, nor evaluate whether HP could bejoined, but rather dismissed the case

automatically after (incorrectly) concluding that HP was a co-owner at the time the

complaint was filed. As the Supreme Court explained in Provident                                        Tradesmens


Bank     & Trust        Co. v. Patterson,          390 U.S.      102, 118-19        (1968),     "a court    does not


know     whether        a particular      person     is 'indispensable'          until it ha[s]    examined        the


situation      to determine          whether      it can proceed       without      him."     The failure     to consider


post-filing      events     and the current          status    of the parties      thus was error.         Although        HP


should      not be considered           a necessary          party   as a matter     of law and the judgment


may be reversed,            at a minimum,           the judgment        must be vacated           for the district       court


to evaluate       thejoinder         question      under      the appropriate       standards     of Rule     19. See


Aspex       Eyewear,      Inc. v. Miracle          Optics,     hlc., 434 F.3d 1336,           1344-45      (Fed.   Cir.


2006)       (vacating     district     court    decision      that plaintiff     lacked     standing    and remanding


for district      court    to consider         whether      all necessary      parties    were joined       or could


have     been joined).




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                                                     CONCLUSION


          The district        court   has subject      matter    jurisdiction       over this patent


infringement         action     under    28 U.S.C.      §§ 1331 and         1338(a).         IpVenture     is the sole


owner     of the '235 patent,           and therefore      has standing          to assert    the claims       of patent


infringement.         Because         HP is not a holder         of legal title to the '235 patent,             and has


disclaimed      any ownership            interest,    the district     court's    dismissal      on the grounds        that


HP was not joined             as a party    should      be reversed.




Dated:       March     13, 2006                                      Respectfully        Submitted,




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                                                                         Attorneys       for Plaintiff-Appellant
                                                                         IPVENTURE,              INC.




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U.S.      Patent     No.     6,216,235                                         A59-76




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            II        ]PVENTIERE,             INC.,                                   CASE NO. L-'V03-5780-DSF                   (CTx)

            12                            Plaimif_                                    JUDGMENT DISMISSING                       ACTION
                                                                                      WITHOUT PREJUDICE                           .
            "13              v.

            ]4        PROSTAR            COMPUTER               INC.,
            15 ! et al.,
                                          Defendants.
            16

            17               Defendants'                 Renewed    Motion to Dismiss     having      been presented       and fully
            18        considered,        the issues having           been duly heard and a decision          having     been duly
            19        rendered,

            20                IT IS ORDERED                   AND ADJUDGED            that the plaintifftake        nothing,         that the
            21        action be dismissed                 without   prejudice, and that defendants         recover their costs of

            22        suit pursuant         to a bill of costs filed in accordance             with 28 U.S.C.      § 1920.

            23

            24

            25
                      DATED:            9-25"-05"
            26

            27                                                                    DALE S. FISCHER
                                                                                  United States District Judge
            28




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            8                                  UNITED STATES DISTRICT COURT

            9                             CENTRAL             DISTRICT OF CALIFORNIA

           10

           ll    lpVEm'tmE,INC.,                                            CASE NO. CV03-5780-DSF                                (CTx)

           12                     Plaintiff,                                ORDER SETTING EVIDENTIARY
                                                                            HEARING RE DEFENDANTS'
           13          v.                                                   RENEWED        MOTION TO DISMISS

           14    PROSTAR        COMPUTER              INC.,
                 et al.,
           15
                                  Defendants.
           16

           17

           18                                             I. INTRODU(

           19

           2O          The parties are involved in contentious patent litigation.                            During the course

           21    of discovery, and only after a motion to compel production                      of documents was

           22    granted, Defendants            uncovered documents suggesting         that Plaintiff IpVenture, Inc.

           23    was not the sole owner of the patent in suit, at least at the time this lawsuit was

           24    filed. Defendants move to dismiss on the grounds that the co-owner is not

           25    included as a plaintiff.           The Court agrees that Plaintiffmay            not be the sole owner

           26    of the patent.      An evidentiary           heating is necessary, however, to resolve this issue.

           27           Defendants'            Renewed Notice of Motion and Motion to Dismiss, the

            28   Confidential      Version of the Memorandum               of Points and Authorities                      ("Motion"),




                                                                  A2
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   I   and the Sealed      Declaration        of Michael         A. Molano       ("Sealed     Molano          Dec."), a were
                                                                                                                            _.._
   2   lodged     on May 27, 2005.           The Unsealed          Declaration      of Michael         A. Molano            i.n_.'

   3   Support      (Thereof)     ("Unsealed         Molano      Dec.")    was filed on the same day.                       -'-_;
                                                                                                                            _._
   4             IpVenture's      Memorandum            of Points     and Authorities         in Opposition            to     "

   5   Defendants'       Motion      to Dismiss       ("Opp.")      was filed on June             13, 2005.

   6             Defendants'       Reply     Brief in Support        of Renewed          Motion       to Dismiss       was

   7   filed on June 20, 2005.

   8             At the hearing      on June 27, 2005,            this Court asked        for additional         briefing          on

   9   the issue of contract         interpretation      under      California     law.     On July 8, 2005, Plaintiff

  10   filed its Supplemental          Memorandum             of Points     and Authorities          in Opposition            to

  11   Defendants'       Motion      to Dismiss       and Defendants          filed their Supplemental              Brief on

  12   California     Case Law in Support             of Renewed          Motion    to Dismiss.         On July 12,

  13   2005, Plaintiff         filed a Reply to Defendant's               Supplemental       Brief Re Renewed

  14   lVlotion to Dismiss.

  15

  16                                           1I.    LEGAL         STANDARD

  17

  18             A.      Motions       to Dismiss       for Lack of Subject              Matter      Jurisdiction

  19                     Generally

  20             Motions       to dismiss    for lack of subject          matter jurisdiction         must be assessed

  21

  22
         J   The Court finds no reason to conclude that any of the documents                            filed "under seal"
  23     should remain under seal. Defendants                 filed them under seal only because they had been
         designated     confidential       by others pursuant       to a protective      order.     The Court refers to
  24
         portions of one of the sealed documents in this Order. lfthe Court receives no reasoned
  25     objection, see Phillips ex tel. Estates ofB_d v. General Motors Corp., 307 F.3d 1206,
         1212 (9th Cir. 2002), to the unsealing of all sealed documents                       relating to this motion by
  26     August 25, the Court will order all documents                    to be unsealed.         Defendants     are

  27     immediately       to notify Hewlett-Packard           Company        of this provision of the Court's Order,
         and to provide proof of service of such notice.
  28




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     I    under Rule        12(b)(l)       in one of two ways.                  "If the motion           is a facial attack,        i.e., if it
                                                                                                                      •                   C;
     2    challenges       the sufficiency          of the pleading               itself, the Court         must use the standard

     3    applied    to motions         under Rule          !2(b)(6)."            Laurence       Wolf Capital             Mgmt. Tru'st v.
                                                                                                                                          t..j

     4    City of Ferndale,            176F.      Supp.     2d 725, 726 (E.D. Mich.                      2000).      However,       ifilae

      5   motion    is a factual        attack,     "[a] district          court may hear evidence                   and make findings

      6   of fact necessary          to rule on the subject                matter     jurisdiction         question         prior to trial, if

      7   the jurisdictional           facts are not intertwined                  with the merits."           Rosales        v. U.S., 824

      8   F.2d 799, 803 (9th Cir. 1987) (citations                          omitted).          In that event,        "[n]o presumption

      9   of truthfulness        attaches      to the plaintiff's               allegations,      and the existence             of disputed

     10 material         facts will not preclude             the trial court from evaluating                        for itself the merits

     II   of the jurisdictional            claims."        Augustine            v. U.S., 704 F.2d           1074, 1077 (9th Cir.

     12   1983) (citation          omitted).       Where         the jurisdictional            and substantive             claims "are so

    13    intertwined        that resolution          of the jurisdictional              question         is dependent         on factual

     14   issues going        to the merits,          the district         court should         employ       the standard         applicable

     15   to a motion        for summary           judgment         ....    " Rosales,          824 F.2d at 803.

     16

     17             B.        Patent       Infringement            Actions

     18             As a general         matter,      "parties      should         possess      rights     before     seeking      to have

     19   them vindicated            in court."        Gaia Techs.,             Inc. v. Reconversion              Techs.,      Inc., 93 F.3d

    20    774, 780 (Fed. Cir. 1996) (citation                      omitted).         2 "Later     events      may not create

     21 jurisdiction         where      none existed          at the time of filing.               Rather,        the presence       or

     22   absence        of jurisdiction       must be determined                   on the facts existing             at the time the

     23   complaint        under     consideration           was filed."            GAF Bldg.        Materials            Corp. v. Elk

     24   Corp. of Dallas,           90 F.3d 479, 483 (Fed. Cir. 1996) ("It is undisputed                                     that the

     25   [patent      in dispute]      had not issued            when the original              complaint          was filed ....               The

     26

     27
            2   "The question of a party's                 standing to bring a case is a jurisdictional                      one ....     " Gaia
     28     Tech__._ss.,
                    93 F.3d at 778.




                                                                           A4
                                                       z
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  1    subsequent         issuance      of [that patent]        did not cure this jurisdictional               defect.")

  2    (internal      quotations       and citations         omitted),                                                          u.,
                                                                                                                                7-':
  3              Moreover,         all co-owners          of a patent     must ordinarily         consent      to join as,a:::]
                                                                                                                                Gi
  4    plaintiffs      in an infringement            suit.    Ethicon,     Inc. v. U.S. Surgical           Corp.,     135 F:3d

  5    1456, 1468 (Fed. Cir. 1998).                   See also lnt'l Nutrition           Co. v. Horphag             Research

  6             257 F.3d 1324, 1331 (Fed. Cir. 2001) (all co-owners                               must ordinarily          join as

   7   plaintiffs,      and one co-owner             can impede          the other co-owner's          ability to sue

   8   infringers       by refusing        to join in an infringement            suit voluntarily).

   9

  I0                                          III.   FACTUAL             BACKGROUND

  II

  12               The Complaint          was filed on August              14, 2003.

  13               Plaintiffalleges           it is the owner by assignment             of all right, title and interest

  14   in and to United           States Patent        No. 6,216,235         (the "'235        Patent"),     which     was issued

  15   April     10, 2001.        Compl.       ¶ 7. Plaintiffalleges           that both Defendants            have been

  16   infringing,       contributorily          infringing,     or inducing        infringement       of the '235 Patent

  17   by, among         other things,         making,       using, selling,     offering      to sell, importing          or

  18   promoting         infringing      products,        including,      without    limitation,      notebook        computers,

  19 without         authority.       Id. ¶¶ 8, I 1.

  2O               Defendants         argue     that Plaintiffdoes         not own all interest            in the '235 Patent.

  21 i They assert        that the primary _ inventor              of the '235 Patent,           C. Douglasss         Thomas

  22 ! ("Douglass         Thomas"),           conceived       of the invention       while      he was employed            as a

  23   patent      attorney     at the Hewlett-Packard               Company        ("liP"),     where he was subject                  to

  24

  25

  26

  27
         3 This is Defendants'                term, though it seems irrelevant to the Court's                 analysis.     Se.._.ge
  28     Ethicon,       135 F.3d at 1466.




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          an agreement          that provides          that such inventions       "are the sole property            of liP. ''4
                                                                                                                             '._.t

          Defendants         also assert that HI' has granted               a royalty-fi'ee       license   to the entlre..g
                                                                                                                        " _'
                                                                                                                          -_:
     3    notebook       computer          industry,     including      Defendants,     through         Advanced          _"_i

     4    Configuration          & Power         Interface,     which    they refer to as "an industry             standa?_ls-

     5    setting     body."      Motion,       3:1-2. 5

     6
     7                                                        IV.    ANALYSIS

      8

      9              There     are two basic issues the Court must decide                       here6:      (1) whether

     I0   Douglass       Thomas           assigned     his rights to the '235 Patent            to liP, making       HP a co-

     11   owner      of the '235 Patent,             and (2) if liP had an ownership               interest    in the '235

     12   Patent,     the impact          on Plaintiff's      ability to sue without          joining     HP as a plaintiff.

     13

     14

     15

     16

            4    Both sides submit documents                  that are not properly authenticated.            Because     the
     17
            parties agreed at oral argument that the documents are authentic, the Court considers
     18     them where relevant. See Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir. 1994) (internal
            citations and quotations omitted), overruled on other                                   b_yGalbraith     v. County of
     19
            Santa Clara, 307 F.3d 1119 (9th Cir. 2002).
     20
             s      Defendants         assert that, because of this license, HP, like the co-inventor                in Ethicon
     21      cannot join as a plaintiff-- and the action must be dismissed                         without leave to amend.
             The Court cannot decide this factual issue on this motion.
     22

     23      6      Plaintiff argues that, because Defendants'               attempt to challenge           the Court's
            jurisdiction        is a "factual attack [on the pleadings]            based on alleged extrinsic evidence,"
     24
            Opp., 7:1-2, their motion is nothing less than a "disguised motion for summary
     25     judgment on its [sic] defective and unsupported license defense." ld., 7:14-15.                                  Plaintiff
             makes no effort to explain how the factual issues are "intertwined with the underlying
     26      merits." The Court has declined to decide the license issue and finds the issues to be
             decided on this motion are not intertwined                    with the merits of Plaintiff's         claims or the
     27
             defenses        raised.
     28
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   I             A.        The Douglass               Thomas       Employment              Agreement

   2                       1.         California         Law                                                                         L'l
                                                                                                                                     -L
                                                                                                                                     :4.
   3             The parties        agree, as they must, that state law governs                          contractual                  ,-1.
                                                                                                                                     k_;

   4   obligations       and transfers of property                 rights, including          those relating to patents.

   5   See Regents         of the Univ.         of N.M.v.          Knight,       321 F.3d 1111,          1118 (Fed. Cir. 2003).

   6              Generally,       in California,        the whole          of the contract         is to be interpreted             so as

   7   to give effect to every              part, if reasonably            practicable,       each clause         helping       to

   8   interpret the other.           Cal. Civ. Code § 1641; Ahlgren                        v. Walsh,         173 Cal. 27, 35

   9   (1916);      National       City Police         Officers     Ass'n v. City of National                  City, 87 Cal App.

  10   4th 1274, 1279 (2001).

  11              California       courts     distinguish         between        agreements         to assign     patent     rights and

  12   assignments         of patent        rights.    -Compare        Shaw v. Regents              of the Univ. of Cal., 58

  13   Cal. App. 4th 44, 53 (I 997) (agreement                         that embodied             employee's            promises        to

  14   disclose       any inventions          he may create in the future "does                      not..,      effect a

  15   contemporaneous              and complete           transfer     of [employee's]             rights     to the [employer]")

  16   (internal      quotations       omitted)        with Cubic Corp. v. Marry,                    185 Cal. App. 3d 438,

  17   444,456        (! 986) (employee               did not own the patent               in question        because      he had

  18   assigned       it in his employment               agreement)            and Treu v. Garrett            Corp.,     264 Cal. App.

  19   2d 432,437          (1968)      (ownership         of the patented           invention        "was a fleeting         thing

  20   which       [the employee]           had bargained           away even before             it became        a reality").

  21              "While        no particular         form of assignment             is necessary,        the assignment,              to be

  22   effectual,      must be a manifestation                 to another         person     by the owner          of the right

  23   indicating       his intention         to transfer,        without       further    action    or manifestation             of

  24   intention,      the right to such other person,                     or to a third person."              Cockerell        v. Title

  25   Ins. and Trust           Co., 42 Cal. 2d 284, 291 (1954)                     (citations      omitted).          Few, if any, per

  26   se rules exist that distinguish                  an assignment            from an agreement              to assign,      though

  27   the tenses       of the verbs         used in the underlying               agreement         are obviously          an

  28   important        indicator..See          Bailly v. Loock,               103 Cal. App.        220, 227 (1930)             ("Words

                                                                           6


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          of transfer      or conveyance                 in the present      or past tense,      i.e., 'sells'      or 'sold'      not
                                                                                                                                   •   "LI
          'agrees      to sell,'     while      not conclusive           of the question        as to whether
                                                                                                            the partles__:
                                                                                                                    • _
          contemplated             a consummated             sale will, it seems,        be held to be determinatwe_:_ i_.

          unless      their force and effect is overcome                      by other provisions           of the instrume_i.")

          (citation     omitted).

     6

     7                                    a.          Cubic Corp.

     8                William       B. Marty,         Jr. became        a Cubic employee           in December             1976.       At the

     9    time, he signed            an invention           and secrecy         agreement       by which      he agreed:

     I0

     II               [t]o promptly            disclose      to Company         all ideas, processes,            inventions,

     12               improvements,             developments            and discoveries         coming      within the scope of

     13               Company's          business          or related     to Company's          products      or to any research,

     14               design       experimental            or production        work carried       on by Company,               or to any

     15               problems         specifically         assigned      to Employee,        conceived          alone or with others

     16               during       this employment,             and whether         or not conceived          during       regular

     17               working        hours.       All such ideas, processes,                trademarks,      inventions,

     18               improvements,              developments            and discoveries        shall be the sole and exclusive

     19               property       of Company,             and Employee           assigns     and hereby        agrees       to assign       his

     2O               entire right,       title and interest            in and to the same to Company.

     21    185 Cal. App. 3d at 444.                      In 1977 Marty          conceived      of an idea for an electronic

     22    warfare      simulator         (EWS),          a device      for training    pilots in electronic           warfare.          He

     23    showed       a diagram         and a manuscript               describing     his invention        to employees              of

     24    Cubic,      representing            it might be a new product               that Cubic      could       add to its existing

     25    product      for training           pilots.      Cubic      funded     an internal     project     to study the

     26    invention,       and ultimately               submitted       a proposal     to the Navy         for the invention               under

     27    a different         Cubic     employee's           name.

     28               In 1978 Marty              applied      for a patent        on this inventionwithout              telling Cubic.




                                                                             A8
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   I A patentwasissuedin December1979.Marty offeredto licenseit to Cubic,
  2 whichtook the positionthatthepatentbelongedto Cubic. Cubictold Marty_!...that
  3 his continuedemploymenttherewascontingenton his assigningthepatent._e
                                                                                                                                   I._."


  4    refused.                                                                                                                    ''

   5              Cubic     sued Marry seeking,                among       other things,       declaratory         relief as to

   6   ownership          of the patent           and specific     enforcement          of the agreement.             The trial court

   7   granted      summary       adjudication              in favor of Cubic,         finding     that the agreement

   8   "conveys       by its terms           the entire       right, title and interest"          in the invention           to Cubic.

   9   ld..._,
            at 446.       This ruling,            and the later findings          after the court trial, were upheld                       on

  10   appeal.

  11
  12                                  b.            Treu

  13              The facts in this case are not especially                        helpful     because         the court never

  14   quotes      the language            of the agreement          at issue, but simply             states     that the

  15   employment           contract        "provided         that any inventions            [the employee,         Morris]        made

  16   while      [employed]       would           belong     to [the employer,          Garrett]."       264 Cal. App. 2d at

  17   433.      It is obvious,        however,            that whatever       the wording,        the court concluded               the

  18   relevant      document          constituted          an assignment.

  19              After     analyzing          the invention       and licensing         arrangements            not relevant        here,

  20   the court held that the rights                   Morris     had were assigned             to Garrett.        "When         Morris

  21   left his employment                 ....     [h]e had developed            an ability     to invent        improvements,

  22   and whatever           he created           later in the application           of that ability          was his own.         That

  23   ownership,          however,         was a fleeting        thing which          he had bargained            away even

  24   before      it became      a reality.          He had a sufficient           interest     to enable       him to apply for a

  25   patent     and assign       the same to Garrett,              but the instant           the improvement              was

  26   invented       it became        the exclusive            property       ofGarrett."       Id_ at 436-37.

  27
  28

                                                                           8


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                                       e.         Shaw

                  Douglass         Shaw was hired by the Regents                      of the University          of Califom_i_
                                                                                                                                     _:i

        (the "University")            to teach         and do research.           At the time, the University               had fiii
                                                                                                                                    t..,i


        policy     providing        that the University              "in administering          intellectual      property        rights

        for public      benefit,      desire[s]         to encourage       and assist      members       of the faculties,

    6   employees,        and others          associated       with the University              in the use of the patent

    7   system      with respect        to their discoveries             and inventions          in a manner        that is

    8   equitable      to all parties         involved."           55 Cal. App. 4th at 48.           The policy mandated

    9   "lain agreement             to assign         inventions      and patents      to the [University]...               for all

   10   employees        ....   " Id_._.It also stated             thai exceptions         to this assignment         requirement

   I1   may be authorized             when "the mission                of the University          is better     served"     thereby.

   12

   13             As to those who agreed                   to assign     their inventions         to the University,           the

   14   policy states       that "[t]he        [University]          agree[s],     for and in consideration               of said

   15   assignment       of patent          rights,     to pay annually          to the named       inventor(s),      the

   16   inventor(s)'       heirs,     successors,          or assigns      50% of the net royalties              and fees received

   17   by [the University]."               ld_.._.

   18             The patent         agreement          obligates      the signatory       to inform      the University

   19   promptly       of"every        possibly         patentable      device,      process,     plant or product"           that the

   20   signatory      may conceive             in the course         of University        employment.           Should       the

   21   University      deem the invention                 patentable,      the signatory         promises       thereafter         "to

   22   assign    to University         all rights,        title and interest"        in the invention.           Id.__.

   23             After Shaw          was hired,         the University          revised    the policy        to reduce     the

   24   percentage       from 50%.            When        the University         announced        it. would      pay Shaw the

   25   reduced      percentage        for his patented             inventions       conceived      after the policy change,

   26   Shaw sought          a declaration            that he was entitled          to 50% of the net royalties               and fees.

   27   He was granted          summary           judgment,          and the University          appealed.

   28             In affirming        summary           judgment       that Shaw was entitled             to a 50% royalty,                 the




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       appellate     court noted         that, by its terms, the patent          agreement        embodied         Shaw's

        promises     to disclose         any inventions       he may create        in the future so that the             u.:e,
                                                                                                                         ".7'

        University     may "examine[.]...               and determine        rights and equities         therein     in "-:_:
                                                                                                                         _,.j


        accordance      with the Policy"          and, if the University          "desires...         to seek patent _''

        protection     thereon,"     to assign      his interest        in the invention      to the University.          ld____,
                                                                                                                              at
       153.

               The court         held that the clear language              of the patent      agreement         did not effect

   8    a contemporaneous           and "complete            transfer    of plaintiff's     rights to the University,"

   9    and distinguished          the case from Cubic Corp. and Treu.                     Id.

  I0

  11                      2.        Federal      Circuit      Law

  12            Both sides devoted             substantial      portions     of their initial briefs to the

  13    discussion     of Arachnid,          Inc. v. Merit Indust.,         Inc., 939 F.2d 1574 (Fed. Cir. 1991),

  14    FilmTec      Corp.     v. Hydranautics,          982 F.2d       1546 (Fed. Cir. 1992), and Speedplay.

  15    Inc. v. Bebop,         Inc., 211 F.3d      1245 fled.       Cir. 2000).       These      cases demonstrate              that

  16    the "Federal      Circuit    authority     "7 is similar to California            state law, and the result              is

  17    the same regardless          of which      is considered.

  18

  19                                a.        Arachnid

  20            Arachnid,        an electronic          dart game manufacturer,            entered     into an agreement

  21    with Industrial        Design      Electronic      Associates       ("IDEA")       in 1980, whereby           IDEA

  22    was to provide         consulting      services      for improvement          of the computerized            scoring

  23    system of Arachnid's              dart games.        The consulting       agreement          provided      that "any

  24    inventions     conceived          by IDEA or its employees..,                in the course        of the project

  25

  26      7 Presumably the Federal Circuit in                                  on state law, se__&e
          Regents of the Univ. of N.M., 321 F3d at 1118, though that is not apparent from the
  27
          decisions.    The decision         in FilmTee. was presumably            based on interpretation           of the
  28      federal statule at issue.         Se.___e
                                                 FilmTec, 982 F.2d at 1550.

                                                                    10



                                                    i            All
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          covered     by this agreement,          shall be the property             of CLIENT          [Arachnid],       and all

          rights thereto      will be assigned          by IDEA...           to CLIENT."            Arachnid,       939 F.2_llat

           576 (emphasis          provided       by Federal       Circuit)..a;_

     4              On November            17, i 982, several       months        after the consulting          agreemen't'       Was

     5    terminated,       IDEA engineers          filed an application            for the "'781        patent."      The

     6    inventors      (IDEA's      president     Donald        DeVale       and two other employees)                assigned

     7    the '781 patent         to IDEA,     not Arachnid.          The assignment             to IDEA,       executed

     8    November          5, 1982, was recorded           in the Patent         and Trademark          Office       (PTO)       and

     9    the patent     was issued        to IDEA on May 14, 1985.

     i0              Arachnid      sued IDEA.          During     the course       of the litigation,          IDEA    filed a

     11   Chapter       11 bankruptcy        petition     and sold its assets,          including       the '781 patent,          to

     12   Kidde      Recreation      Products,     Inc.     Ultimately,        the district judge        directed      a verdict         in

     13   favor of Arachnid          and issued an order including                  a statement        that "plaintiff

     14   Arachnid,       Inc. is hereby       declared     and decreed           to have    been and to be the lawful

     15   owner      ofaU     right, title, and interest         in and to the invention              [of the '781 patent]

     16   ....     " Id.__:.
                         at 1576 (emphasis            provided      by Federal       Circuit).

     17              On May 6, 1985, while              that lawsuit         was pending,        IDEA     had granted         a

     18   nonexclusive          license    to Merit.      Beginning          in December         1985 and ending            in June

     19    1986, Merit       manufactured         and sold several            hundred       games     using     a feature     of the

     20    '781 patent.         Arachnid     sought     to recover      damages         for infringement            from Merit.

     21              The pivotal     question      before       the Federal       Circuit    was whether          Arachnid         had

     22    standing      to seek recovery         for Merit's      alleged      infringement          during     the 1985-86

     23    time period.         The Court      explained        that "[t]he     general     rule is that one seeking              to

     24    recover      money     damages       for infringement          of a United        States    patent     (an action       'at

     25    law')     must have      held the legal title to the patent              during       the time of the

     26    infringement."          ld..__,
                                        at 1579 (emphasis           added).       Evaluating        the consulting

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                                                                             ..       .    ..      ...           ........




                           agreement            itself, 8 the Federal Circuit                   found that it was "an agreement                         to assign,
                                                                                                                                                                  Zi
                           not an assignment."                     Id. at 1580.            Its provision             that all rights        to inventions         u,

                           developed            during       the consulting               period         "will be assigned"             by IDEA to Aractihid

                      4    "does not rise to the level of a present                                assignment                 of an existing     invention,       ....

                      5    effective           to transfer     all legal and equitable                       rights therein to Arachnid                and

                      6    extinguish            any rights of IDEA.                  Nor does the provision                        amount      to a present

                      7    assignment             of an expectant          interest."              Id___=
                                                                                                       at 1580-81.                The Federal       Circuit    held that

                      8    Arachnid            did not have standing                  to sue in 1989 for infringement                           that occurred in

                      9    1985-86•             Id__.at 1581.

                     I0

                     II                                       b.        FilmTee

                     12                 At issue in FilmTec              was a patent                    resulting           from research      performed       under       a

                      13   government              contract.        In 1976, the Office                     of Water Research                and Technology            of

                     14    the U.S. Department                     of the Interior entered into a research                              contract (the

                     15    "Contract")             with the North Star Division                            of Midwest            Research      Institute ("MRI"),               a

                     16    not-for-profit            research        organization.              The government                    entered      into the Contract

                     17    under authority of the Saline                     Water Conversion                               Act of 1971 (the "Act"),          Pub. L.

                     18    No. 92-60,            85 Stat. 159, which had the broad purpose                                        of developing        means for

                     19    desalinizing             salt water       so as to make it suitable                          for municipal,         industrial,    and

                     20    agricultural            uses.     Section     6(d) of the Act provided                              that all patents resulting           from

                     21    contracts           made pursuant           to it, such as the Contract,                            will "he available       to the

                     22    general        public."         FilmTe¢,      982 F.2d at 1548.                       Congress           further provided          that "title

                     23    to...        inventions         made or conceived                    in the course of or under any contract or grant

                     24    pursuant to the...                 Saline     Water Conversion                      Act of 1971 ...               shall be governed           by

                     25    •..       section      []9...     of the Federal Non-nuclear                          Energy,           Research,      and Development

                     26

                     27          s    The Federal Circuit first addressed whether the invention was conceived while
                                 IDEA was under contract to Arachnid, and found Arachnid's                                             position on that issue
                     28          "untenable." Id_=at 1580.

                                                                                                          12
                                                                                  1

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     1 Act of      1974 [FNERDA]              ....     " Id__=.
                                                             (quoting           Pub. L. No. 94-316,         90 Stat. 694

     2    (effective    date June 22, 1976)."                                                                                   t.!__
                                                                                                                                .~.

     3            Section       9 of the FNERDA                provides     in part:                                            :I'
                                                                                                                                I,.i


     4
     5            (a) Whenever         any invention             is made or conceived             in the course        of or under

     6            any contract       of the Administration...                    and the Administrator              [of the Energy

     7            Research       and Development                 Administration]         determines       that -

     8            (1) the person        who made the invention                    was employed          or assigned       to

     9            perform       research..,           and the invention           is related     to the work.he        was

     10           employed        *or assigned         to perform,        or that it was within          the scope of his

     I1            employment         duties...

     12            title to such invention             shall vest in the United              States,   and if patents          on such

     13            invention      are issued         they shall be issued in the United                  States,     unless     in

     14            particular      circumstances              the Administrator         waives     all or any part of the

     15            rights of the United              States     to such invention         in conformity        with the

     16            provisions       of this section.

     17            (b) Each contract           entered         into by the Administration              with any person           shall

     18            contain       effective     provisions          under which         such person       shall furnish

     19            promptly       fo the Administration               a mitten      report     containing      full and complete

     20            technical      information          concerning         any invention..,             which may be made in

     21            the course       of or under such contract.

     22    Id____.
               (quoting      Pub. L. No 93-577,                88 Stat. 1878, 1887-88)             (emphasis        added).

     23            The Federal        Circuit        noted: "In light of Congressional                  intent to ensure              that

     24    the government          receive     title to all patents         resulting      from research           contracts

     25    authorized     by the Saline Water                 Conversion         Act, the Contract        explicitly      provided

     26   i that MRI 'does hereby             grant      to the Government.the               full and entire domestic                  right,

     27    title and interest       in [any invention...              [conceived         or first actually         reduced      to

     28    practice]    in the course         of or under this contract                or any subcontract].'"            Id...__.

                                                                           13


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   I    (emphasis     added).     In addition, the Contract required MR/to "submit...                       written

   2    information       concerning the conception or actual reduction to practice..,                      oP_.k,ery
                                                                                                               "7,'


   3    invention made by [MILl] pertaining to the work called for in this contract w_ich

   4    was conceived or first actually reduced to practice..,                   during..,     the term of this

   5    contract, which invention would be a Subject Invention if made under this

   6    contract, but which the Contractor believes was made outside the performance of

   7    work required under this Contract."               ld.___.
                                                              The Contract also provided that "failure

   8    to fi_rnish such information        shall, in any subsequent proceeding,               place on the

   9    Contractor the burden of going forward with the evidence to establish that such

  lO    invention is not a Subject Invention.             If such evidence is not then presented the

  11    invention shall be deemed to be a Subject Invention."                    Id_.___.

  12            MRI hired John Cadotte to carry out the research contemplated                        by the

  13    Contract.      Cadotte left MRI and joined FilmTec as one of its four co-founders.

  14    He essentially duplicated         the experiments he had conducted at MR], but with

  15    better results.      He then filed a patent application relating to his research, and his

  16    application       issued as the "'344 patent." FilmTec sued Hydranautics                   for

   17   infringement        of two claims in the '344 patent, and Hydranautics                 asserted that

   18   under the Contract, the United States, not FilmTec, had legal title to the '344

   19   patent and that FilmTec lacked standing to maintain its infringement                        suit.

  20    Therefore,      the threshold issue was whether the United States or FilmTee owned

  21    the '344 patent.

  22            After concluding         that the invention of the '344 patent was made or

   23   conceived       while Cadotte was at MR], the Federal Circuit held that "[u]nder the

   24   FNERDA, title to inventions made by an employee hired to perform that research

   25   automatically        vested   in the United States."         ld__,at 1553 (emphasis      added).      The

   26    Contract     required   MRI to include        a provision     in its employment       contracts      with

   27   employees         hired to do research       under it that the government        "would    retain title to

   28    all inventions      conceived    or reduced     to practice    during    its term."   ld.__:"Thus,           when

                                                              14

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     1 i the invention            was conceived           by Cadotte,         title to that invention            immediately      vested
                                                                                                                                   _4
     2       in the United        States     by operation         of law. He had no right to assign                   it to Filth'Tee;

     3       the statute     had divested           him of all of his interest.            Although        the formalities           o_the

     4       statute,     including      issuance      to the United         States,     were not complied            with, that __

     5       omission       does not change            the effect of the law."             ld_.__.
                                                                                               (emphasis          added).

     6

         7                                  e.        Speedplay

         8              Speedplay,         Inc. and Bebop,          Inc. were involved              in a lawsuit     over two patents

         9   for bicycle      pedals.       While      the case was pending,              Richard       Bryne,      the chief

     10      executive       officer     and founder         of Speedplay,           Inc., was issued         the '"894       patent"    on a

     l       clip-less      bicycle     pedal,      and Speedplay          amended        its complaint        to allege

     12      infringement          of the '894 patent.            Bebop      responded        by alleging,         inter alia, that the

     13      '894 patent         was invalid.

     14                  Speedplay       traced     its rights      in the '894 patent        to a Confidentiality             and

     15      Inventions       Agreement            ("CIA")       entered    into on September             17, 1992, by Bryne             as

     16      employee        and Speedplay            as employer.          The CIA defined             an "Invention"          to be any

     17      intellectual        property        conceived       or developed          by Bryne      within      the scope of his

     18      employment           and during         the term ofthe          agreement.        All inventions          covered        by the

     19      CIA "shall        belong       exclusively       to [Speedplay]           and [Bryne]        hereby      conveys,

     20      transfers      and assigns          to [Speedplay]...            all right, title and interest           in and to

     21      Inventions."          Speedplay,         211 F.3d at 1253.              The Federal        Circuit     agreed     with

     22       Speedplay        that, as the '894 patent              application        was submitted         on April       29, 1994,

     23       Speedplay        automatically          obtained       title to the '894 patent           pursuant      to the CIA.            Id.__:.

     24                  Bebop     contended         that the CIA was merely                a "promise        to assign       a future

     25       invention,"        but the Federal          Circuit     distinguished         the language          in the CIA from the

     26       language       in Arachnid.           The CIA provided             that inventions         "shall     belong      to

     27       Speedplay,"         and that Bryne          "hereby       conveys,        transfers     and assigns"          the inventions

     28       to Speedplay.            Therefore,      the Federal         Circuit     held, the case was not controlled                     by

                                                                               15


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   I    Arachnid,        but, instead,       by FilmTec.         ld.__:.
                                                                                                                            C.;
   2                                                                                                                        ILl



   3                        3.         Application        to the Thomas           Employment           Agreement            _'

   4              The employment              agreement       between         Douglasss      Thomas     and HP ("Th_'_nas

   5    Employment          Agreement")           provides      in part:

   6

   7              This Agreement             also concerns        inventions       and discoveries         (whether    or not

   8              patentable),        designs,     works      of authorship,       mask works,         improvements,          data,

   9              processes,       computer       programs        and software        (hereinafter      called    i'Proprietary

   I0             Developments")             that are conceived            or made by me alone or with others

   I1             while     I am employed            by liP; that relate to the research              and development              or

   12             the business           of liP, or result     from work performed             by me for HP; or that do

   13             not qualify        fully under      the prevailing          provisions     of California       Labor Code

   14             Section        2870.     Such Proprietary         Developments           are the sole property           of liP,

   15             and I agree:

   16             a.     to disclose       them promptly         to liP;

   17             b.     to assign       them to liP; and

   18             c.     to execute        all documents       and cooperate         with HP in all necessary

   19             activities      to obtain      patent, copyright,           mask work and/or         trade secret

   20             protection        in all countries,        HP to pay the expenses.

   21   Sealed      M01ano        Dec. at Ex. A (footnote            omitted).       After considering           the authority

   22   discussed        above,      the Court concludes           the Thomas        Employment          Agreement

   23   constitutes        an assigmnent         of all Proprietary           Developments       to liP.     The words            "1

   24   agree,"        and the text that follows,            establish     the procedure       that Thomas         would

   25   follow      when he conceived             of a Proprietary            Development.       It would not be possible

   26   to give meaning            to the words       "Proprietary         Developments         are the sole property              of

   27   liP"   and still hold that the Thomas                  Employment           Agreement         was merely      an

   28   "agreement         to agree."        An interpretation           that reads the words          "are the sole property

                                                                         16


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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 85 of 112




     1 of HP" as a present assignment, however, and reads all that follows as a
                                                                                                                           ;?.;

     2    description       of the process     to be followed      on the creation           of the inventions,          g i_ves

     3 meaning to each of the words.                                                                                        ,a'
                                                                                                                           f_

                                                                                                                •        . f,'.

     4               This conclusion        is consistent     with both California and Federal Circuit

     5 precedent.           Douglass Thomas' ownership of any Proprietary                        Developments               "was a

     6    fleeting      thing"    that he "had bargained        away even before             it became     a reality."            See

     7               264 Cal. App. 2d at 437. At the moment of the invention, all he was

     8    obligated       to do was follow       the steps listed in his Employment                  Agreement        as a, b,

     9    and c. As in Treu and Cubic,                 the agreement        he signed     was an assignment            of his

     10   rights.      Se_._q
                            264 Cal. App. 2d at 437; 185 Cal. App. 3d at 456.

     11              Further,     the Thomas     Employment        Agreement            is analogous     to the contracts

     12   in FilmTec        and Speedplay,       and distinguishable            from the one in Arachnid.                The

     13 agreement in .Arachnid, held to be an "agreement to assign," said that all rights
     14   "will      be assigned."        939 F.2d at 1580.      The Thomas             Employment        Agreement,              in

     15   contrast,      says that all Proprietary          Developments         "are     the sole property         of HP."

     16   Sealed       Molano      Dec. at Ex. A (emphasis         added).        FilmTec,      where     the contract            said

     17   "does       hereby     grant   to the Government       the full and entire          domestic     right,"     982 F.2d

     18    at 1548, and Speedplay,             where    the contract        said "shall    belong"      and "hereby

     19 conveys, transfers and assigns," 211 F.3d at 1252, contain language more similar
     20 to that at issue here.
     21               Defendants         provide evidence through Thomas'                 own testimony that the '285

     22 Patent is a "Proprietary Development"                     covered by the Thomas Employment

     23 Agreement.               Plaintiff addresses this issue only in a footnote, contending                        it is a

     24 factual issue that cannot be considered on this motion (and that it need not be
     25 resolved here because the Thomas Agreement is not an assignment).                                       The Court

     26 disagrees•             As discussed above, factual issues often must be resolved in order to

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                                                                       17


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.....
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         - ....                                                       .   .            ..   .                         .-.           _....,     ....           .   :__.....   .




                  I   determine       jurisdiction?

                  2             Because       there    is some    suggestion        in the documents                that Plaintiffmigtit_!be

                  3   able to establish         that the invention            was not a "Proprietary               Development"                       covered
                                                                                                                                                            ¢1"

                  4   under     the Thomas         Employment        Agreement,                  an evidentiary      hearing            will be

                  5   appropriate       required       in order   for the Court             to resolve       this issue.

                  6

                  7             B.        Impact       on the Litigation          _°

                  8             Plaintiff's      repeated     argument         that liP's          ownership,      even if it exists,                   has no

                  9   impact      on Plaintiff's       standing    because        Alan Thomas                is not bound        by the Thomas

              I0      Employment          Agreement,          is conclusively            refuted      by Ethicon.           There            is no question

              II      that Alan Thomas             j_ had a right unilaterally                  to assign    or license       his interest                 in the

              12      patent,      135 F.3d at 1466, and did so. But "all co-owners                                must ordinarily                     consent

               13     to join as plaintiffs           in an infringement          suit.         Consequently,        'one co-owner                      has the

              14      right to impede          the other co-owner's             ability          to sue infringers          by refusing               to

               15     voluntarily       join in such a suit.'"            ld___,
                                                                              at 1476 (footnote                and citation           omitted;

               16

               17       9     Whether     this is an issue which, like inventorship,                    should be decided by the Court
                        based on clear and convincing              evidence, see Ethicon                    135 F.3d at 1460 (discussing                          the
               18       Court's      determination        of inventorship,       which resulted in co-ownership),                            or by some
                        other standard         is a matter to be briefed by the parties.
               19

              20        ,o Though the Court has determined                      that an evidentiary             hearing      is required to resolve
                        whether the '235 Patent is covered by the Thomas Employment                                         Agreement,                that issue
               21       will be moot if liP's potential ownership has no impact on the litigation for other
                        reasons. Therefore, the Court addresses this issue.
               22

               23        _' That the Employment               Agreement         does not bind Alan Thomas                     and cannot be
                        enforced against him is irrelevant.                   Defendants          do not attempt to enforce the Thomas
               24
                        Employment            Agreement      against Alan Thomas, they merely argue that HP is a co-owner
               25       that must be joined in order for the litigation to proceed.                             The Court declines to address
                        the numerous other rots-characterizations     of Defendants'                            positions. The Court also
               26
                        rejects Plaintiff's alternate argument, that Defendants cannot seek to enforce the
               27       Thomas Employment Agreement, and therefore cannot contest standing. Se___ge     FihnTe______c,
                        982 F.2d at 1550 (distinguishing               asserting equitable              rights of ownership                  from legal
              28        rights).

                                                                                        18


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    1        emphasis       added).     Plaintiffmay          be only a co-owner                of the patent        in question.

    2        Therefore,      it is possible     that HP, who may also be a co-owner,                               must consent!to             be

    3        joined.      See Ethicon         135 F.3d at 1468.              The Court turns            to the two agreements
                                                                                                                                     I    t


    4        between       liP and IpVenture,           one entered          into in April 2003, and one entered'_nto                           in

    5        April 2005, to determine               whether      they resolve          this issue.

    6                   The agreement         reached      in April 2005             need not be considered             because          the

    7        Complaint       was filed in August              2003.       Even if the April 2005 agreement                    were

    8        deemed       an assignment        of HP's        interest      (which      Plaintiff      and liP do not claim),

    9        acquisitions      of rights      in the patents         at issue subsequently               acquired      do not cure
         I

   1oi       standing      defects,    even    if the assignments              are "retroactive."           See Gain Tech., 93

   II        F.3d at 777, 779 ("Absent               ownership           of the intellectual           property,     Gaia lacked

   12        standing      to sue on the patent          and trademark               infi'ingement       claims";      a "hunt      pro

   13        tune assignment           of trademark        rights"       executed       after Gaia's       filing of the instant

   14        suit, but made retroactive              to a date prior to the filing, was "not sufficient                          to confer

   15        standing      on Gala retroactively");              GAF Bldg. Materials,                  90 F.3d at 483.

   16!                  The question,      then,     is whether          the April 2003 agreement                  vested   IpVenture

   17        with sole rights         in the '235 Patent.            Plaintiffasserts           that the agreement          contained               a

   18        "covenant       not to sue under         the '235 patent,"              Opp.,     4:25, but does not argue that it

   19        gave Plaintiffthe          exclusive       right to sue for infringement                   of the '235 Patent.              The

   21)       agreement       itself includes        no language           indicating         that it represented        any type of

   21        transfer     or assignment        of rights      in the '235 patent              from HI' to IpVenture.               Instead,

   22        it included     the '235 patent          in its list of patents            within the definition           of the term

   23        "IpVenture       Patents."       Unsealed        Molano         Dec., Ex. 9 at IPV 24387.                 Plaintiff         admits

   24        that liP's     counsel,      Douglass      Gilbert,         testified    that he did not intend            to assign         any

   25        patent     rights by way of the April              2003 agreement.                Opp.,    5 n.2.

   26                   The April      2003 agreement            did not vest lpVenture                 with sole ownership               ofthe
         i
   27!       '235 Patent.

   28


                                                                              19


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  1                                           V.      CONCLUSION
                                                                                                              C,
                                                                                                              IU
  2

  3             None of Plaintiff's     arguments      challenges      the fundamental        legal eonclui_ion

  4    that all owners      of a patent must join a s plaintiffs        in a patent   infringement        sui'_

  5    Under Ethico.____._n,
                        if a co-owner        cannot     be joined,     the action must be dismissed.

  6             Having    concluded     that the Thomas Employment               Agreement       was an

  7    assignment,       the next step is for the Court to determine             whether     the '235 Patent

  8    constitutes    a Proprietary     Development       as the term is defined           in the Thomas

  9    Employment         Agreement.     The Court sets an evidentiary            hearing     for August      31,

  10   2005 at 3 p.m. to receive        evidence      on this issue.    Direct    testimony      shall be

  11   submitted      by declarations    filed and served      on or before       August      24, 2005.     All

  12   declarants     must be present     and available      at the time of the hearing          for cross-

  13   examination.        Briefs   (not to exceed     ten pages)    on the issue of the standard           of proof

  14   should    also be filed and served         by that date.

  15

  16

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                                                                             Dale S. Fischer
  18                                                                   United States District       Judge

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  3/:.                                                                                                                                          Priority          t'/
                                                                  • UNITED STATES DISTRICT COURT                                                Send          _               .:
                                                                  CENTRAL DISTRICT OF CALIFORNIA                                                Enter                         .:

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         -_."                            IP_                 INC. v.PROSTAR          CO_                INC.,oral.
                                                                                                                   ,,    .,                          ,_.



         ,                                                    '      DALE $. FISCHER, UNITED STATES DIST_CT 3UDGB
                                                   PAUL P'IL_RSON                                                  Not Present
                                                    D_uty Clcrlc                                                 Court         Reporter

        •                          Attameys Ik_--nt
                                                  for_intilf_.                                     ARom_              l_resepr        for De£cndants:

                                                     Not Present                                                        Not Prcscnt

        • Proceedings:                                       (IN CHAMBERS)                  ORDER           ON DEFF__ANTS'
                                                                                            RENEWED                     MOTION                 TO   DISMISS



         ""     On July 27, 2005, this Court issued its Order Selling Ev/dentiary Hearing rc
         D_-ndants'    Renewed Motion to Dismiss ("Order"). In the Order, the Court h_d, inter
         aSa, that the Court had no judsdiclion  to pzo_ed with th_ sotion (and thercrfore the
         fiction mast be dismissed without prejudice) if fewer than all co-owners werejoined  as
         plaintiffs, and that the employment agreement entered intobetween one of plaintiff's
         assignors,  Douglass Thomas, and Hewlett-PaekardCompany ('_P'_ ('_fhomas
         Employment Agreement') constituted  an assignmentof all'_roprJetary
                                                                           Developments"
         (asdefinedin the agreement) ratherthan an "agreementto agree."

                                     Because          Plalntiffhad      contended    that the patent at issue was not a 'Wroprietary
        •Development"     as the term was defined in the agreement, the Court concluded that an
         cvidenliary heating was necesmry to _sol_       the jurisdictional (standing) issue, aud set
         the hearing for August 31, 2005. On August 23, at the request 0fPlaintiff,       the Court
         held a telephonic hearing. During the hearing, the Court stated that, ffPlaintiffadvised
         th_ Court that it did net contest that factual issue, the Court would make a factual finding
         based on the failure to contest the issue, and would grant the Renewed Motion to
            Dismiss.  On August 24, Plaintiff filed "IpVenturc's    Statement Re 'Proprietary
            Development'    Issue on Defendants' Renewed Motion to Dismiss."        In pertinent part, the
            S_atemvnt states: "... ]pVenturc    dov_s_ot contest that the invention of the '235 pater.is.

                                                                                                                                                                               L..



                                                                                                                                                                               I"
                                                                                                  ...      .."    •                                                       •    I

                                                                               ClVILMINUTES-_':-                 _" :_




             •       -         .    .     .    •




                                                                                                  A 22
.....   •_..'..:.....
                           Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 90 of 112
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              . ,, oe:ss FAX 213es41els                                                                    usDc                                                                                         1_oo2/oo2       :



                                                                                  UNITED             STATES            DISTRICT COURT                                                                                   :=


                                                                             CENTRAL DISTRICTOF CALIFORNIA

             ....:                                                                               ClVIL _                 =G_NERAL
                                                =,
                                                                                                                                                                                    SEND
                        a =Prop_rlctarv Development'                                            _nder theThomas            Employment                           A_reement."            Emphasis                    in
                        origlnal.

                               As P|aintiffno longer contests that the invention of the '235 patent is a
                        'Proprietary Development"    under the Thomas Employment Agreement, the Court now
                        finds that the invemion of tho '235 patent is a'_prietary  Development"   under the
                        Thomas Employment      Agreement. Based on that finding, the Court further fin& that the
                        '235 patent was assigned to HP and that HP is a co-owner of the '235 patent. As HP is
                        not joined as a Plaintiff, the action must be dismissed without prejudice.                                                                                    See
                        ]Inc. v. U,S. Sur_dcsl Com.: 135 F.3d 1456, 1468 (Fed. Cir. 2001).

                                     The evidentiary                      hearing scheduled for August 3 I, 2005 is placed offcalendar,

                        IT IS SO ORDERED.




                                                                                                                                  "._           .          ..




                         cv_ 0=/#2)                                                                   ClVILMIr{I,'I"_
                                                                                                                  - C4ZZ_tl,




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           Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 91 of 112




                                                                      UNITED     STATES DISTRICT                    COURT
                                                                   CENTRAL           DISTRICT OF CALIFORNIA

                                                                             CIVIL    MINUTES          - GENERAL
                                                                                                                                                                              tt.I




                                                                                                                                        I

                        CaseNo.              t CV03-5780-DSF(CTx)                                                            , Date         8/31/05

                    • Title, IPVENTURE, INC. v. PROSTAR COMPUTER, INC., et aL
                    ,    ,,,    • ........


                        Present:.-TheHonorable ' DALE S. FISCHER,UNITED STATES DISTRICTJUDGE

                                                      Sandy   Eagle                                                      Not Present

                                                      Deputy Clerk                                                      Court Reporter

                                    Attorneys          Present   for Plainti_:                              Attorneys    Present   for Defendants:

                                                       Not Prvsent                                                        Not Present


                                                                 (IN CHAMBERS) AMENDED ORDER ON DEFENDANTS'
                                                                 RENEWED MOTION TO DISMISS AND ORDER DENYING
                                                                 REQUEST TO WITHDRAW                              JOINT STIPULATION                            FROM
                                                                 THE RECORD
                                I"                    1
                                                          ,2005,      this Court issued its Order Setting Evidentiary Heating re
                    Defendants'                 Renewed            Motion to Dismiss ("Order"). In the Order, the Court held, inter
                    alia, that the Court had no jurisdiction to proceed with the action (and therefore                                                         the
                    action must be dismissed without prejudice) if fewer than all co-owners                                                   were joined as
                    plaintiffs,              and that the employment                 agreement entered into between one of plaintiffs
                    assignors,               Douglass            Thomas, and Hewlett-Packard                  Company ("HP") ("Thomas
                    Employment                        Agreement")        constitUted an assignment of all '?roprictary                         Developments"
                    (as defined in the agreement) rather than an "agreement                                         to assign."


                                       Because          Plaintiffhad       contended that the patent at issue was not a "Proprietary
                     Development"                       as the term was defined in the agreement, the Court concluded that an
                     evidentiary               hearing was necessary to resolve the jurisdictional (standing) issue, and set
                     the hearing for August 31, 2005.                            On August 23, at the request of Plaintiff,                           the Court held
                     a telephonic                     hearing.     During the hearing, the Court stated that, if Piaintiffadvised                                    the
                     Court that it did not contest that factual issue, the Court would make a factual finding
                     based on the failure to contest the issue, and would grant the Renewed                                                   Motion to
                     Dismiss.                On August 24, Plaintiff filed "IpVenture's                           Statement Re 'Proprietary
                        Development'                    Issue on Defendants'           Renewed Motion to Dismiss."                      In pertinent part, the


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                        CV-90   (12/02)                                              CIVIL   MINffr_   -GENERAL                    [NITIAL_    Oi   DEpLrI'y    CLERK   _T_   _


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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 92 of 112




                             UNITED STATES DISTI_CT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -GENERAL                                             cU
                                                                                                       I,U
                                                                                 SEND                  _-
Statement states: "... IpVerlture does not contest that the invention of the '235 patent i_
a 'Proprietary Development'   under the Thomas. Employment Am'eement." Emphasis in _
original.


        As Plaintiffno    longer contests that the invention of the '235 patent is a
"Proprietary    Development"     under the Thomas Employment Agreement, the Court now
finds that the invention of the '235 patent is a 'proprietary Development" under the
Thomas Employment Agreement. Based on that finding, the Court further finds that the
'235 patent was assigned to HP and that tIP was, at least at the time the Complaint was
filed, a co-owner of the '235 patent. As lip has not joined as a Plaintiff, the action must
be dismissed      without prejudice.       See Ethicon, Inp, v. U.S. Surgical Corp., 135 F.3d 1456,
1468 (Fed. Cir. 2001).


        The evidentiary
                      hearingscheduledforAugust3I,2005 isplacedoffcalendar.


       Plaintiffs' request to withdraw the stipulation fi'om the record is DENIED. It is
obvious from the document that Plaintiffs are not a signatory or a party to the stipulation.
The stipulation     was otherwise      relevant to the hearing then scheduled.

IT IS SO ORDERED.




 CV.90(12102)                          ,      C1V1L
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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 93 of 112



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                                                                                                                US006216235B1

     o2)United                       States Patent                                            (lO) Patent No.:                     US   6,216,235      B1
            Thomas             et al.                                                         os) Date of Patent:                       *Apr.    10, 2001



     (54)    THERMALAND                         POWER MANAGEMENT                                        FOREIGN PATI_T             DOCUMENTS
             FOR COMP_                           SY,_rEMS
                                                                                              0 i57 5O7        10/1985    (EP).
                                                                                           0 214 297 A1         3/1987    (EP).
     (76)    Inv_tor,x          C. Douglass Thomas, 1193 Capri Dr.,                              0363567        4/1990    (EP).
                                Campbell, CA(US) 95008; Alan E.                                  0364222        4n990     0a_).
                                Thomss, 424 Atlantic Ave., Ocean City,                           o368144        5/199o    0_').
                                N] (US) 08226                                                    0381o21        8/1990    (I_).
                                                                                           0 419 9_gA2          4/1991    (EP).
     ( *)    Noti_:             This patent issued on a               continued pros-      0 42fi 410 BI        5/1991    (El>).
                                ocarina application filed              under 37 CFR        0 456 012 Bt        11/1991    (E D .
                                1.53(d), and is subje, ct to          the twenty year            0_4_           3/1_92    0_.
                                patent term provislom                  of 35 U.S.C.
                                154(aX2).                                                       054O287         5/1993    (EP).
                                                                                           o 565 395 AI        10/1993    f_).
                                Subject to any disclaimer, the term of tl_s                o 683 5._ AI        It/1995    (EP).
                                pstem is extended or adjusted under 35                          2235797         3/1991    (GB).
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                                U.S.C. 15403 ) by 0 days.
                                                                                           58-129524 A2         8/1983    0P).
                                                                                           60-1501Y/,_.         8/2985    (JP).
                                This patent is subject              ta a _rminal   dis-
                                claimer.                                                                     (List continued on next page.)

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     (21)     Appl. No.: 09/351,051

     (22)     Filed:            JuL 10, 1999                                               Advanced      Power Management (APM), B]OS luted'ace
                                                                                           Specification, Revision 1.1, Sep. 1993.
                         Related        US. Appilcatlon             Data
                                                                                           "Cooling Control," IBM Technical Disc.tosure Bulletin, voL
                                                                                           18, No. 6, pp. 1705-1706,     No'*'. 1975.
     (63)     Conllnualk, a of application No. 08/914,299, flied on Au$.
              18,1997, It_ Pal. No. 5,974,557, which is e condnusllon                      "Computerized      Control of Chilled Water Syslem,"     IBM
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              PaL No. 5,752,011.                                                           2981-2984,     Jan. 1978.
                                                                                           _Variable Air CcoHng for Computer          and/or Electronic
     (51)     /hi. CI7        ...............             G06F 1104; G06F ]/20             Equ/pment," IBM Technical Disclosme         Bullelin, voL 32,
                                                                                           No. 10A, pp. 196-198, Mar. 1990.
     (52)     U.S. CI ..........................                    713/501;   713/"323
                                                                                           Primary Examiner--Thomas            M. Heckler
     (58)     Field of S_trch ...................                     713/322, 323,
                        713/501, 320, 321,324;                    702/99, 130, 182,        (57)                      ABSTRACT
                                                                183; 714/25, 34, 40
                                                                                           Improved approaches to providing tl_rmal and power man-
     (56)                            References        Cited                               agemcnt   for a computing oMvic= arc disclosed.         These
                                                                                           approaches facilitate intelligent control    of a proofs
                           U.S. PATENT DOCUMENTS
                                                                                           ckck bcq'_cncy and/or a fan's slxed so as m prov/dc
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                           (List onnfinued          on next pare. )                                          54 Claims,    8 Drawing    Sheets




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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 94 of 112




                                                                         US 6,216,235           ]31
                                                                               Page   2




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   Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 95 of 112




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                                                                           F2


                                                                 CLK
                        CONTROLLED
                8 t     OSCILLATOR
                        VOLTAGE


                                                                 MICROPROCESSOR




                                                                      SENSOR

                                                               I ,




                                                  FIG. 1




                         VOLTAGE
                         CONTROLLED
                         OSCILLATOR


                                                                      MICROPROCESSOR


                         vcoCO.TROLLE.
                                    I
                            _-'_" 14                                   TEMP.
                                                                       SENSOR _4
           1 2 "-_                               \6

               |      ACTIVITY
                      DETECTOR




                                                      FIG. 3




..............................                          A 61                ............
, . ..-   .
              Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 96 of 112
              .   .   .- .......................                   . .....   .   ........    ..,..._:.:   -.                        .   ,.   .   .   •   ._._   ..,.   ......   :   ..




                      U.S.                         Patent   Apr. 10,2001                    Sheet2 ot 8                        US 6,216,235          B1




                                                     fMAX




                               CLOCK
                                FREQUENCY




                                                     fMIN                                                                               m




                                                                                  50             60            70         80   90


                                                                 CHIP TEMPERATURE                                   (_)


                                                                                         FIG. 2




                                                                                             A 62
-..     .   ..........            -.   .   _b   ..   _      -   .-'..       .   •   ..      _    --             _""    -

      Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 97 of 112




                     U.S. Patent                     Apr. 10, 2001                       Sheet 3 of 8                 US 6,216,235   B1




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                         IOSCILLATOR [




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                                                                                         MICROPROCESSOR




                                                                        FIG. 4




                                                                                         A 63
...................
                      Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 98 of 112
                                   ........   .   .   ......                 _ .......      •   ...--.       .   .   ...   ........     .   .    .   .   ..        ".._   . ..,




                        U.S. Patent                         Apr. 10, 2001                Sheet 4 of 8                                 US 6,216,235            B1




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                          IOSCILLATOR I
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                                                                                                                                             J

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                                              2




                                                                                         MICROPROCESSOR




                                                                          FIG. 5




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                                                                      i                  A 64
Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 99 of 112




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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 100 of 112




   U.S. Patent             Apr. 10, 2001          Sheet 6 of 8                  US 6,216,235   B1


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                                         ISLEEP                                 I
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              -----]    FIRST
                        DIVIDER          ICLOCK                  C           ------o   OUTPUT
                                                                 T                     CLOCK
    INPUT                                  NORMAL                0
              _            SECOND
    CLOCK                                 CLOCK                  R
                           DIVIDER
                       42"/'        FAST
                                    CLOCK

                                                                IN1    IN2




                       SENSOR
                       TEMP.                _4
                                                     6
                           r_-48
                                                                                       20
                       ACTIVITY
                       DETECTOR
                                                                                W
                                                                                I
                                                                                I



                                         FIG. 7


                                              48
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                                                           /TO        IN2

                       I_            _                      I


                             ACTI
                                         ACT2


                                           FIG. 8




                                     i           A 66
          Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 101 of 112




                              U.S. Patent   Apr. 10, 2001                Sheet 7 of 8               US 6,216,235     B1




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                                52                  E       I
                                                    C       I                     ._    CLK
                                                    T       I
                                                                                          MICROPROCESSOR



                                                                                           ACTIVITY
                                                                                           DETECTOR         ]


                                                                    f6
                                                                                          TEMP.._2,
                                                                                          SENSOR                48


                                            56-._               [



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                                                                                60 --._




                                                                           FAN CONTROLLER




                                                                           FIG. 9




...........................                                              A 67
•   _..      . ..,
                     Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 102 of 112
                      -.   .................     •       ..........       _..=..   ,:...   .    .     . ......-.:     ......             .                            •. ......        :...-   _.t.   •   .   .




                                   U.S.        Patent                                Apr. 10, 2091                   Sheet 8 of 8                       US 6,216,235              B1




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                                                                                   DIVIDER          I CLOCK                      C                               OUTPUT
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                                       INPUT     I                                                                               O
                                   ClOCK°t
                                       -                                           DIVIDER
                                                                                   SECOND I CLOCK
                                                                                            FAST                                 R

                                                                                   64J         OVERDRIVE
                                                                                               CLOCK

                                                                                                                               IN1 INZ IN3




                                                         ACT1,                       f68                            BURST


                                                                                   DETECTOR                         NORMAL
                                                                                   ACTIVITY

                                                     I

                                                     I 4.-_                        TEMP.

                                                                                                                I HOT/COLD
                                                     I                1            SENSOR
                                                     I
                                                     t




                                                                                                                    FIG. 1 0




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Case 1:17-cv-11008-MLW Document 38-5 Filed 08/25/17 Page 103 of 112




                                                            US 6,216,235 B1
                                   1                                                                       2
           THERMALAND   POWER MANAGEMENT                                     depe_:ling on the c_rmnt heing snpplied to the computer by
                FOR COMPUTER  SYSTEMS                                        the power system. Farther, a variable-frequency    clock is
                                                                             provided w_ch varies its frequency based on the supply
          This appto is a con't of Set. No. 08/914,299 file_ Aug. 18,        voltage being prndnced-
      ! 997, U.S.. PaL No. 5,974,557, which is a oon't of 08/262,        $    Externalcloc_ have b_n u_d to provide s computer
      754 filed Jan. 20, 1994, U.S. Pat. No. 5,752,011.                    system with faster docks. Here, the faster exte*nal dock is
                  BACKGROUND          OF THE INVENTION                     substituted for the internal.dock       of the computer system.
                                                                           U.S. PaL NO- 5,134,703 is illustrative of an exlemal c.kx_
          1. Fiold of tim Invention
                                                                           unlt which _I_li_        a .laMer dock to a computer without
         The pt_nt      iov_tion   rclalm to a computing d,Mce and, I0 zequiring       any hatdw'arc changes within the compeer.
      more particularly, to a method and apparatus for controlling            The problem with ag the prior solutions to energy con-
      a proce_sor's clock fir.q_cncy.                                      servalion is that the p_rs                can still overheat. In
         2. Dr.._cdpfion of the Related Art                                particular, during prolonged proc_sing          or activity by a
         h is known that if no user activity has ooonned for a             computer's prneessor, the prneef_,.q_ will _        enter its sleep
      period of time that a portable computer can be placed in a Is mode (if any) and as a rebmlt the _r                     w_J become hot
      suspend or al_p mode. It is also known to snspond or slow            and requite   exlensive  recallto cooltheprocessorto preveot
      a compotur's     processor (e.g., micruproce_or,      CPU) when      overhestSng and evanma] failure of thepr_._r.            Overheat-
      the prooe._r       _ not adivcly proc_sing.       The following      ing and fa_re       of the processor can also occor when the
      patents and pstet_t publications       are repre_atstiw    of the    compnter      it used in patticolatly        hot environmental
      cv.rre_t statc of the art:                                        20 temperatureS, the computer's        cooling fan fails, or when
         (a) U.S. Pal. No. 5,201,059 discloses a sleep mode which          cooling o[ the proo:_sor is otherwise imxdequate,
      is activated when control given to BInS or alternatively by             Another problem is that with portable compmers, mann-
      incorporating    some statistical am]ysls of the fxequency of        facturem have to cithex use a lower clock freqne_cy(lower
      BIOS calls. In this paten1, the sleep mode eith_ stops the           than would be n.¢ed in a cemparshl¢ d_k top computer) fog
      clock oJ; slows it to 4 MHz.
                                                                           processing     or provide a fan for cooling. A lower clock
         (b) U.S. PaL No. 5,167,024 discloses a power manage-              ffcquancyis notr_tisfactory       as uscm want ma.,dmum pw-
      mcnt system for • laptop computer. The power management              _ng        power ju_ as they get with a _           top computer.
      system operate_ to disconnect power sources and/or clock             Requiring a portable computer to use a fan for cool_gis        also
      signals to various peripheral devines to cometic battery 3O nosatisfactow              becan.se it con_am_ battery energy.
      power. The slow mode is entered into when no activity has
                                                                              Thus, there is a need for a so/orlon to the above problems
      boon detected for a predete_             period of time.             which coabtca a compuling device to man_m_e its Im3Ce-.s_
         (c) U.S. Pet No. 5,218,704         discloses a technique for      ing s_ed while,, at the same time., preventing        ovetbe.ating.
      power c_servali_         based on real-time sampling of CPU
      activity. The activity is sampled during interrupts and when 3S                    SUMMARY         OF THE    INVENTION
      it demrminns that lhaCPU may rer,L, e deep cloclt _ supplied
                                                                              Broadly speaking, the irr.tentinn relstns to novel tech-
      to the CINJ. The detection of an interrupt restor_ the clock
      to the flee rate prior to pmc,_ng        the intur_pL                nlque_ for controlling     a proee:_or's dock li'equeney or fan
                                                                           epned so as tO prevent overeating.             While prorating
         (d) U.S. Pal.No. 5.239,652 disclosesa techniquefor
      power consnmptionwhich disconnectsthe _                  from the    overheating,    the invention altemptsto maximizes the pro-
      power supplywban control         logicdeterminnstheCFU isnot 40 oc.r_ing       speed of thoproce_or or to conservepower.
      activelyprocessing.       Thereafter,the CPU is periodically            Other aspects _          advantages of the inventionwill
      powered.up to perform housekeeping           dooms as well as to     become apparent born the following detailed description,
      determine it normal pm,cesr_,ing should be rc*umed,                  taken in conjunction        with the accompanying        drawings,
          (e) European patem publication  EP-0474963 di_lnses     a 4s illu_qrating by way of example the principals of the inveo-
      sleep mode controller which lowers the CPU clock speed           tion'
      when no input/output operation     (when keyboard control
      routine of BInS e.xeculcd no input key data in key buffer, or           BRIE_ DESCRIPTION OF THE D]L,kWINGS
      when CPU is idle and no input key data in the key Iroffer)           The prc_nt inveminn will he zeadfly un_n_tood by the
      is performed. The system _          a clock genorator cite'nit 50 following    detailed description     in conjunction   with the
      which produces the low dock (4 MHz), the high dock (32             accompanying      draw'rags, whuda     L_e reforene¢ numerals
       MHz) and a slighdy dower bigh clock (16 MH2). A key-              designate Iflee stracmral elements, and in which:
       board oo_troller is _       to detem_ne which of the high            FIG. 1 is a block diagram of a fit_ end_odimenl of the
       cloc_ is escd, with selection being made by the computer          iovantion;
       user. The deep mode controller is disabled if the AC adapter
                                                                            FIG. 2 isa graph of an examplc of the telatiomhip of chip
       is connected.
                                                                         temperature o_ a microprocessor    frequency of a clock signal;
          (f)U.S. Pat. No. 5,230,055 discloses a portable computer
                                                                            FIG. 3 is it block diagram of a second embodiment of the
       wherein the computer is make inoperable when ambient
                                                                         invention;
       temporamre     or humidity become too high. tlere, ambient
       temperature    and humidity are periodically monitored.        60    FIG. 4 is a block diagram of a third embodiment of the
          (g) Eu;clxan patent publication EP-0381021 dLwJc_ns a          invention;
       power saving systum for a personal computer. The system              FIG. 5 is a block diagram of a fottrth embodiment of the
       oporatm     to allow or stop power to be wappGed to an            invention;
       ozciUator ba.sed on control data set to a control v:gister via       FIG. 6 is a timing diagram illustrating operation of the
       keyboard or software.                                          6S fourth embodiment;
          (h) U.S. Pat. No. 5,021,679 discloses a power system for          FIG. 7 is a block diagram of a fifth embodiment        of the
       a portable computer whefdn      the supply vdtage is varied       invention;




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                                                                                 US 6,216,235          B1
                                                          3                                                                     4
                              FIG. 8 illustrates a schematic diagram of an embodiment               FIG. 2 is a graph of an example of the relationship of chip
                           of an activity detector;                                             tempcrature of th* mic_p_r              2 and clock frequency of
                              FIG. 9 is a block diagram of a sixth embodiment of _e             the clock signal 10. The clock frequency varies between a
                           invention; and                                                        ma:dmnm htquc_y          (FMAX) and a minimum frcqueucy
                              FIG. 10"is a block diagram of a ._vcoth embodiment      of      S (fM]N) for given mi_oproccssor. The mifilmum frequency
                           the invenffon.                                                       (fMIN) may he zero ffthe clock signal 10 is not responsible
                                                                                                 for rcfreshlng dynamic memory; othenvisc, it cannot fall
                                       DETAILED DESCRIPTION           OF THE                    below some minimum frequency. Notice that as'the chip
                                                    INVENTION                                    lemperslursincr_          beyond some lhresholdlemporatur_
                                                                                                (Vm) (e.g_ 120 degrees F.), the frequency of the clock
                              The invention provides novel tanlmiques for controfiing a to signal lO wiU gradually           dccxeasc.By dec'rc..ming the clock
                          proce&sor's clock frequency so as to preventoverheating. In            frequeocy in relation to the chip temperature.,, processing
                          addition to preventing ovcrhealing, the imrentioa attempts to         spend can bc maximized for a given temperatuse without
                          maximize the prnnessing speed of the pro_r.           Tic i,ven-      ri_ing     _r          overheating.   As the chip temperature
                          llon also operates to cotmerve the amount of energy con-              become "hot", theclock fre.quency is roduc_dso as to reduce
                          sumed by the processor.Pmvanting the processorflora Is the thermal heat generated by *he microprocessor                              2. The
                          overheating is important heCaltSe when a processor over-              profile of the curve for the clock flequency shown in FJG.
                          heats it no longer operates properly. Comervation of energy,          2 is illustrative  as other con'cs may be t_ed.For example,
                          althoughof gnncralimportaoct:       forag computingdevices,     is     the fxeq_eocy of the clock signal 10 could he controlled so
                          pnrticolady important for Imrtablc computing devin¢_
                                                                                             2O thai the chip temperature is maintained          in a mor_ limited
                              The invention murfitors a processor's      activity and its       temperature: range. In any ea._, the profiles of the curves
                          temperature. When there is no activity for the processor, a           declcas¢ theclock fxcquency as the temperature increases.
                          slow clock fiequcoey is used, thereby saving power and                    FIG. 3 is a block diagram of a second embodiment of the
                          lowering the thermal heat produced by the pro_r.          On the       invention.   In thisemboifiment,the mica'oprocessor           2, tem-
                          other hand, when there is activity for the processor, a fast          perature asnanr 4, the temperature signal 6, the VCO g, anti
                          clock fxequancy is used. However, when prolonged activity 25 the clocks_gnal 10 are similar to those utilized in the first
                          (i.c., sustained [asl clock fi'cqnency) caosan the pronessor's        ¢mlxxlimcnL However, this embodiment further includes an
                          tcmperalure     to become      dangerously   high for proper           activity detector 12, an activity signal 14, a VCO controller
                          operation,   theclockfrequancy is reduc_ so _ tomaintain              16, and a control signal 18.
                          processing speed at a reduced spoed while preventing ova.r- 3o            Tl_ activily detector 12 monitors the microp_r                   2
                          heating.                                                               and/or some related peripheral           device    (e.g., intenmpt
                              Embodiments    of the invention are discussed below with          controUer, key_ard       buffer, input/nntput ports, instruction
                          reference to FIGS. ]-I0. ilowewr, Iho_ skilled in tim art             cache, current instruction, program counter) to determine
                          will readily appreciate that the detailed description      given      when the mi_oproc_r           2 is actively proce._.ing or when
                          herein with respect to these figures is for explanatory            35 prOCessing     isneeded.In thiscas*,the nctivity          detector 12
                          purposes as the inveotion        exteode beyond these l;m;tcd          notifies the VCO controller 16 thai processing is needed with
                          embodiments.                                                           the activity signal 14. On the other hand, when no activity
                              FIG. 1 is a block diagram of a first embodiment of the            exists, the activity detector i'7 nntifies the VCO controller 16
                          invention. In this embodimenl, a microptoce._or          2 has a       that no preccssing is nee_d with the activity signal 14. The
                          temperature sensor 4 which is integral with the micmpro-           40 activity signal is preferably a digital signal having at least
                          cessot 2. The temperature sensor 4 is either integrated within        one bit. Activity detectioo is described in more detail in U.S.
                          the Very Large Scale Integration (VLSI) design of the                  Pat. No. 5,7.01,059; U.S. Pat. No. 5,167,024; U.S. Pal. No.
                          microprnncssor    2 or placed in contact with the housing or           5,218,704; US. Pal.No. 5,239,652;and European patent
                          package thereof. In either cam, the temperatme sere, m- 4 is           publleetinn EP-0474963, which are hereby incorporated by
                          thermally coupled with the microprocessor       2. Becau_ the 45 mfcrcoc*.
                           temperatu_ sensor 4 is integral or thermally coupled with             The VCO controller 16 receives the activity signal ]4 and
                           the microproce._or      2, the temperature    sensor 4 is very     the tcmperam_ signal 6. In re,spon.se to these signals, the
                           rr.spomlv¢ to the temperature changes of the microp_r              VCO controller 16 pmduc_         the control signal 18 which
                           2. The temperature sensor 4 produces a tempersturc signal 6.       controh the VCO 8. The control signal Ig may he analog or
                           Temperature r_,siag circuitry is v,_ll known and therefore so digital depending on IIz design of the VCO 8. The basic
                           not forther described.                                             operation of the VCO controller 16 is to cause the VCO 8 to
                               The temperature signal 6 is supphnd to a voltage-              produce the dock _al       10 for the microprocessor 2 in an
                           controlled osciilator (VCO) 8. The VCO 8 produces a clock          /uralligeol ixlai_e.r SO as to oooscrv¢ energy and pICVCOt
                           signal 10 which is supplied to a clock input of the micro-         overheating. Namely, if the activity detector 12 imlicates
                            proce._sor  2. The VCO g opiates          to produce different 5s that 13o pro&..s_ng is neede_l at s given point in time, then
                            frequencies for the clock signal 10 dep_mling on the value        regurdleas of the temperature detected by she temperature
                            of thc temperature signal. In this embodiment, the tempera-       ._nsor 4, the VCO conholler 16 will cans* lhe VCO.8 In
                            ture signal 6 is prcfe[ably an analog voltage signal and the      produce a sleep (or slow) clock. The sleep clock has a
                            VCO g producesthe clocksignal10 based on thevalneof               frequency    nr,ar IM minimum frequency (fMIbO. On the
                            Ihe analog voltage signaL For example, Ihe temperature 60 other hand, if the activity detector 12 indicates that proco._-
                            signal could be a voltage ranging flora zero to fivc vohs, In     ing is needed at this point in time, then the VCO COntroller
                            rc_pon_ to the temperature signal 6, the VCO 8 could              16 wiLl cause the VCO 8 to produce a fast clock. The fast
                            producu the clock signal with frequencies ranging from 100        clock is Ihe temperature-xegnlated maximum frequency such
                            MHz to 1 MHz. The frequency range is a design choice              as discussed in FIGS. J and 2.
                           selected in accordanex: with thc spccific micmpro_r        65   The secondembodiment isparticularly advantageous for
                           being utilized. VCO's are well known and therefore are not    portable computing devices because it conserves battery life
                           further described.                                            by using a sleep clock when no processing       is needed.




.......................................                                                   A 70
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                                     5                                                                       6
      However, even is the case of prolonged          proor&sing, the        signal The output of AND gate 36 then activatss AND gate
      embodiment  Prevents overheating.                                      28 and inverter 38 inactivates AND gate 26. Hence, the
          HG. 4 is a block diagram of a third embodiment of the              output clock is the fast clock via AND gale 28 end OR gate
     invention,      In this ombodimcnt,       the microprcce._sor      2    32. On the other band. wbco the microp_r                2 is "hot =,
      inc]ndes a clock rcgahtinn .tmlt 20 which control.9 the 5 the AND gate 36 is inoctivated by the inverter 34 t egardleas
      [reqtmncy of the clock used by the microproucsr, of 2 b_sed            of the activity signal. The output of AND gate 36 inactivates
      on chip temperature of the mie_oproct_or        2. Preferably, the     AND gale 2_, and isvertes 38 zctival_ _ AND gatz 26.In
      clock regnlatino unit 20 is integrated with ciA'oultly of the          this case, tim output clockis the sleep clo_ via AND gate
      microprocessor 2.Alternatively,      the clock regulation malt 20      26 asd OR gate 39-.
                                                                          1o
      can be separate fi'om the drofiuy       of the miuroproucssor 2
                                                                                 FIG. 6 is a timing diagram i]lustratlng operationof the
      but nevertheless coupled thereto.
                                                                             fourth embodiment. The output clock (CLK) is a mistm-e of
          The. clock rcgalation unit 20 receives an input clock from
                                                                             the fast clock ptodnoed by tim oscillator 22 and the sleep
      an usclllatur 22 and ptothzces an onqmt clock which is trend
                                                                             clock produL-nd by the divider 24. Tbe temporamre siva} is
      by the microprocessor         2. The clock regulation nnit 20
                                                                          ts the digital output of the temperature sensor 4. The tcmpora-
      includes a temlma'alare sensor 4, a divider 24, a _          AND
                                                                             rare signal is "0" while the _         tetopexatur¢ is not "hot".
      gnlo 26, a second AND gate. 28, an inverter 30 and an OR
                                                                             However, when the ch_p temperature becomc._, "hot', the
      gate 32. The temperature semor 4 is aspreviously descrzbed.
                                                                             tcmperaPm:: signal bccome.s "l", as shown at point A. The
      The divider 24 divides the input clock (fast ckx_) fi'om I_
                                                                              activity signal is "I" when activity is pre*cnt for procc_Dg
      oscillator    22 to produce a sleep (or slow) olocb. For
                                                                          2o by the mic_op:-ocessor 2; ethoS,          the activity Signal is =O"
      example, ff the oscillator 22 is a 100 MHz fixcd-flcquency
                                                                             10 iodicatc no setlvity is presout for processing. JLs shown in
      uscfl]ator and the divider 24 divides by 1(30, then the sleep
                                                                             FIG, 6, the output clock follow_ the fast dock onlywhen the
      clock would he 1 MHz.
                                                                              Icmperature signal is "0" and the activity signal is "1_;
          In this cmbod_ent,      the temperatare sensor 4 produces a        otherwise, the output clock follows the sleep clouk. Note
      digital outpuL It is a_sumed that the digital output is nor- z5 that the t[at_itioas for the output cldek from [,',._tclock to
       really "0", but when the microprocessor        2 hecomes _hof',        sleep clock and fxom skcp clock to fast dock are shown as
       the d_gilal output become_ "1". The digital output of the             being synchronized with the low or _0" purtio_ of the fast
       temperature     sensor 4 together with the logic gates. 26--32         cloc_ Fox example, at point B the oUilrOI ct.ock would
      operate to selexa either the fast dock or the sleep clock as the
                                                                             produce a partial puisc (from the fast clock) if not syochro-
      outpm dock wMch is used by the micropror:essor                2. In 3o nized. Hence, it in probably Prefencd that switching occur
      particular, when the mi_r                   2 is not "hot", AND
                                                                             only when the fast clock is "low," or when both the fa._ and
      gate 26 is inactivated       and AND gate 28 is activated by           sleep clocks are "low" _ shown at l_in t C Note that at point
      inverter 30. Hcmm, the ontput clock is the ram clock via                C, the output cloc_ktransitions fxom the sleep clock to the
      AhrD gait: 28 and OR gate 32. On the othor hand, when the               fast clock but because the tran_tion is synchroni_         with the
       microprocessor      2 is "hot", AND gate 26 is activated and           _iow" portion of the faal clock, the first pulse d_      ooi occur
       AND gate 28 is inactivated. Accordingly,         in this case, tbe     until point D. Such synchronization        can be immred by the
       ourput clock is the shiep (or slow) clock via AND gale 26              addition of Imown clrcahry.
       and OR gate 32.
          FIG. 5 is a block dlagntm of a fourth embodiment of the                FIG. 7 is a block diagram of a fifth embodiment of the
       invention.     In this emburliment,      the microproc_t         2     invention. Although only the clock zegulation unit 20 is
       includes    a clock reguint_nn nnit 20 which conlrols the 4o illustrated in FIG. 7, the fifth cmhodimcut intera=ts with an
                                                                              oscillator 22 and a microprocessor        2 as did the third and
       frequency of the clock used by the mlcrop_r               2 based
       on chip temperature of the micropmc_r           2 and preceder         fourth embodiments. In this embodiment, the dock regula-
                                                                              tion  unit  20 inclnd_   a first divider   40 which divides tl_
       activity. _     clue& regulation vnil 20 _ preferably integrated
      with circuitry of the mieroprocasmr 2.                                  input clock (fastclock)to produce a sleep clock, and a
                                                                           45 scsond divider 42 which divides the input dock to pmdnce
          As with the third ¢.mhodiment, the clock regulation unit
                                                                               a nmmal dock. _        three clocks (sleep, normal _d f_O arc
      20 for thu fourth embodiment receives the input clock fxom
                                                                               then _pplisd    Io a selector 44. The selectur 44 outputs one
      the uscfllalor 22 andprodu_s the output clockwhich is used
                                                                              of the three clocks as the output cloclt forthemicmp_r
      by the microprocessor2. The clock regulationunit20
                                                                              2 based on fnst and second select inputs IN1 and IN2. Thc
      includes the temperature sensor 4, the divider 24, the fi_
                                                                           3o fn_ sclocl input 1N1 is ganeraled by isvertiag the digital
      AND gate 26, the second AND gate 28, and the OR gate 32
                                                                              output flora the tctopcrstnre sensor 4 using an inverter 46.
      as de_,n'b¢ d above with reference to FIG. 4. "l'hedivider 24
                                                                              The second select inputIN2: is generated by an activily
      divides the input clock (fast clock) from the oscillator 22 to
                                                                              dalocto_ 48 which functions similarly to the activity detector
      produce a sleeF clock. The temperature sansor 4 produces a
                                                                               12 in previous edchodimcnts.
       digital output. Although th_ d]gitsl output from the tempera-       55
       lure sensor 4 is normally "0", when the mi_'oprouessor          2          The activity detector 48 receives a phirzfity of activity
      b_          "he,_, the digital output b¢come-s "1". The activity         inputs ACT1,...,      ACTn. For example, the activity in_J_
      deteaor     12 prndocus an activity signal as dasrdibed in the           notify the activity detector 48 whether er not activity exists.
      second embodiment.        Here, the activity signal is a digital         Each of the activity inputs may, for example, indicate an
       signal which is "high" or 41% when activity is present and          6o inten'_pt, keyboard autlvity, modem llne activity, I/O port
       _iow" or "0" when no activity is prcsenl.                               activity, or processor activity. As an cxamplc, FiG. 8 titus-
          "]'bc digilal output of the temperathi'c _usor 4 togethe[            trains a schematic diagram of an embodiment of the activity
       with the activity signal from thc activity detector 12 and the          detector 48. _     acdvity detector 48 inohidcs a OR gate 50
       logic gates 26, 28, 32, 34, 36 and 38 operate to selectciiher           which outputs a _l" when either the activity input ACTI or
       the fast clock or the sleep clock. In particular, when the              the activity input ACI'2 is "I". If neither Ihc activity signals
       microprocessor     2 is not "hot = and activity is poe.sent, the        ACTI and ACT2 are _1", then the OR gate SO omFum a "1",
       AND gate 36 is activated by the inverter 34 and the aclivity            thereby indicating the prcsenct: of activity.




                                                        i               A71
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                                                             us 6,216,235 m
                                      7                                                                       8
      "l_c following Table [iliustratcs the sek_aion of one of the            Paise-width modulation of tbu supply vokagn allows the
   thrc.c clocks by the selector 44 based on the first _lcct input            speed of the fan m be controlled without wasting energy.
   ]NI and the second select input IN2.                                       Thus, this embodime.nt funher inchidcs a mmpuraturc-
                                                                              activated, variable-spend fan.
                                TABLE I                                   $
                                                                                     In the cast: of a desk.top computing device, il is desirable
              IN]              [I¢2              eLK Mode                        Io activate the fan 60 just prior to tl_ temperature where the
                                                                                 fasl clock would be regulated downward because of high
                 o                 o                  Sleep
                 o                 r                   Pa_                      chip temperate re. On the other band, in the case. of a portable
                  1                0                  $1¢¢p                     computing devine, it is desirable to attempt to limit the u._
                  ]                I                 Nom_J
                                                                                of the fan 60 as much as poss_lc by allowing the fast clock
                                                                                 It)  M gradually reduced with in_esdng        temperature before
        Note that when no activity is detected by the activity                   utilizlng thefan 60.For example,ffthcmaximum f_=quency
   detector 48, then the sleep clock is outpuL I]owcver, when                    of the fast clock is I00 MHz_ ll_ fan 60 could be activated
   activity is detected, then the normal clock is output if the 15 in th_ &sk-top cast: before th_ _                           would bc regulated
   chip tempcraturc is "hot" and the fast clock is output if the                 (c.g_ attemp[.s to maintain100 MHz). This would eliminate
   chip tsmperaturc is not "hot". Like previous embodiments,                     or delay the r_luoion in the Frequencyof the fastclock. In
   this embodiment           prcveBts overheating       and conserves
                                                                                 the portab_ case., the fan 60 could bc activated a[lcr the
   energy. Many a]tematives can bc made In the thild, fourth
                                                                                 fi'¢qucocy el the fast clock is already decreased to 25 MHz.
   and fifth embodiments d_ed                above. For example, addi. 2o
                                                                                 The fan 60 would then only be used when necessary to
   lional clocks with diffc_nt           clock f_equancics could be
                                                                                 insure re.asonabl_ procm_ng puwer and even then at the
   provided nod selected for different temperature              ranges to
                                                                                 Iowc,_ cff_=llv¢ speed, the.rchy saving battery energy to the
   provide a more gradual decrease in fiequency. Howcvcr, if
                                                                                 extent possible.
    a mlc_oprocessor        has suff;,nlcnt thermal heal dissipation,
   then cvcn the embodiment wlth only two different clock 25                          AlthoughBet shown butdescribed with reference to FIG.
   f[cqucncies      (fast and sle_)     may provide itasoaable        pro-       6, d epending on the pa_ianhr det_,        synchronimtion of the
   cessing speeds wen when the micropmessu_r               is gstling hot        switching of the fr_Feocy may bu needed to prevent partial
   becau.Sc the switching between tbu clocks would be quile                      puL_ in the dock dgml.           Such synchronization     is easily
    fast as thc response of the temperature sensor 4 is very rapid               implemcotcd ush_ weft-known ckcuflry. L.ikcwis¢, if the
    because it is intcgramd with the mictoproo:ssor.              Further, 30 computing device wcqulrcs a consistent clock period during
    although FIGS. 4, 5, and 7 illustrate thc temperature sensor                 certain events (c.g_ analog-to-digital conversion), then hys-
    4 as resident within the clock regulation unit 20, the tem-                   tereais or other clrcmtry can be added In re.strlctthe ability
    perature sunsur 20 need only bu electrically coupled tbrteto                 of the bcqueocy of the clock to be changed during certain
    and closuJy thermally coupled to the m_croprooc.ssor 2.                       limes.
         HG. 9 is a block diagram of a sixth embodiment of the
                                                                            35        Prior ¢_mbodiments operate to decrease the dock fre-
    inveotiom In this embodiment, the clock (CLK) received by
                                                                                  quency of the clock signals supplied to a microprocessor        to
    a microptoc_sor        2 is either a sleep clock produced by an
                                                                                  prevent ov_heating and to conserve energy. FIG. 10 is a
     oscillator 52 or a temperature.regulated       fast clock produced
                                                                                  block diagram of a seventh embodiment          of the invention.
    by a VCO g in accordance with a temperature signal 6
                                                                                  This embodiment operates to I_ovidc a bum/ proce.ssing
     (analog) L,'om a temperature scar,or d. Clock selection is
                                                                            ,to. mode. for usu under ccr lain conditions. During certain types
     achieved by a s_lcctor 54 based on an activity signal 14
                                                                                  of processing activity, a clock control unit 20 causes an
     provided by an activity delcctor 12, 48. The VCO 8, the
                                                                                  ovcrdrivc dock to be supplied to a micmproc¢_,.¢or 2.
     temperature sensor 4 and the activity dctcctof 12, 48 wcrc
                                                                                  B¢cat_sc the overdrive clock is used only in short bursts, the
     discussed above with respect to previous embodiments. ]f
                                                                                  Beqnency of Lhe overdrive clock can and preferably exceeds
     activity is present, the tsmperalure-regulatcd          fast clock is
                                                                            4s the frequency which sustahied            preceding would permit
     strpplied to the miczoproommr          2. On the othra" hand, if no
                                                                                  without rapidly overheating.
     activity is demctcd, then the sleep dock is supplied to the
     mlcroproc_ssor      2. The temperantm regulation of Ihe fast                     In this cmbodimcot, the clock control unit 20 includm a
     clock is achieved by the analog temperature signal as                        fi_,t divid_ _ which divides the input clock ._ producaa
     discussed above with regard to FIGS. 1 and 2.                          50 sleep clock, and a second divid_ which d_vides the input
         AddifionaUy, FIG. 9 i]]ust rales an additional feature ofthe             cleric to produce a fast docL Because the inpul clock se;_es
     invention.     Namely, FIG. 9 includes an analog-to-digital                  as the ov_-d,-ive   dock, the input clock h_, a dock frequency
     converter 56, a fan controller 5g and a cooling fan 60. Many                  that isfa_cr than tbat n¢ces.sary fix antlicicnl performance
      conventional    computing systems includea fan for circulat-                 and respunsiwne.ss in mosl case*. The dock control malt 20
      ing nil thlough a computer'scabinetor edd-co fansthat SS alsoincludes a selex:tor 66, an activity                         detector 6g, and a
      provide elf-flow on ot near a microprocessor. Such add-on                    lemperatur_    .sen.sot 4.The selector 66 opcrale.s to select one
      fans can be activated in accordance with ambient tempera-                    of the sleep, fast or overdrive docks based on s¢lea inputs
      lure, In contrast, the inveotion allows more aecoralc tem-                   0N1, IN'2, IN3) it reo¢ives from the activity detector 68 and
      perature monitoring of the microprocessor            2 Ixcausc the           the temperature sensor 4. Mc_e particularly, the activity
      temperature sensor 4 is integrated with the microproc*ssor             60 detector 68 receives activity signals ACT/, . . . , ACTn
      2. In addition, the invcntinn facilitates more sophisticated                 which cruse the. activity detector 68 to generate a burst
      energy conservation       which is parlicuhHy         impnnam     for        activity signal and a normal activity signal. Certain of the
      podabhi computing        devices. The temperalurc        signal 6 is          activity signals ACT trigger lira burst activity signal and
      converted to digital form by the A/D convcrlcf 56 and then                   other activity signal trigger Ihc normal activity signal. The
      supplied    to the fan controllcr 58. Thc fan controller 58 05 temperature scmor 4 is integral with the microprocessor                       2
       performs a puLse-width modulation operation on a supply                      and produces a digital temperature signal which indicates
       voltage (Vcc) so as tO control the spucd of the fan 60.                      whether     or not the microprocessor             2 is "hot".




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                                                              9                                                                            10
                               The following Table "Elillustrate.s the selection of one of                      Yet another cmhedimant would be to alter procceslng
                            the three clocks by the selector 66 based on the flint select                   frequency      for exllcmeiy     cold .dmatitum. Namtly, if the
                             input IN1, th= second ,_kct i_nt IN2, and tha third select                     tcmperatme        sensor indicates that tha chip tempemtu_
                            inpnL                                                                           (eoald also use ambient tcmpuraturc) is I_             than a prede-
                                                                                                         5 retrained minimum tcmpe.raturc, then the clock froqaency
                                                                TABLE I1                                    could by set regerdle.su of activity to its maxlmam valnc to
                                                                                                             thcmby cause the gcnsratiou of asmuch heat as possible no
                                           • ll            U,;2           IN3            CLK Mode
                                                                                                             that tha computing davio_ could operate co_cc_j even in
                                             O              O              O                $1t_p           exlvemely cold conditions. Any cooling fan of the comput-
                                             O              o               z               Shmp         ro ing device would also be shat-offusing         a fan coauoll_ such
                                             O              !              0                 Fast            as shown in FIG. 9.
                                             0              1               l               Sleep
                                             ]              0               0             (_,cxdtlve            The many feamrco and advantages of the pre_nl inven-
                                             3              0               l             Fm/_t_p            tion are apparent flora the written dascriplion and thus it is
                                             1               1              0             Ov_cklvc           inlendad by the appended claims to cover nil such fcatmco
                                             ]               1              l             gatt/_cep      IS and advantages of II_ iovcotiou, Pm11_r_ since Immemus
                                                                                                             modifications     and c_co      wia readily  oct:0r to those slaTllad
                             Note that when no activity (either burst or normal) is                          in the art, it is not desired to limit the invention to Ihe exact
                             detected by the activity detector 68, then the deep clock is                    constraetlou      a_l operation as mestrated         and dt_m'hed.
                             oulpul. However, whim hint activity is detected, then the                       Hence, all suitable modifieatinns        and equlvaleats    may he
                             overdrive clock is output if the chip temperature is not allot" 2o resorted to as failing within the scope of the invcadou.
                             and tithe[ the fa..q clock or the sleep dock is output if the                      What is claimed is:
                             chip temperature is "hot". The determination of which of the                        1. A computer s/stem, comprising:
                             fast or sleep clocks ro output in this situatiou is a deign                         a microprocessor,    said mlerop_cessor      operates in accor-
                             choicedepending on the ability               of thecomputingsyslem to                  dance with a cluck signal having a Controllable frc-
                             dLmipat_ heat. In fact, it may be preferred to make the 2s                             quoucy
                             r,cleelioo morc sophisticated in thin _                so that selector can         a fan; and
                             make the d_x:t              x.miog addition temperatur_ infm-mation
                                                                                                                 a thermal managemcm controller opcrativcty connected
                             such as signsls indicating partlmalar temperature ranges or
                                                                                                                    to said mi_ol_OCCSSor and said fan, said Ihermai man-
                             rate at which t_raturc                   is rising. When only normal
                                                                                                         30         agement controller operot_ to. th,ermaily manage raid
                             activity is date.tied, then the fast clock is output if the chip
                                                                                                                    miemproeesaor     in accordance with o_ of a first cool-
                             temperature is not "hot" and the sleep doe& is output if the
                                                                                                                    ing medc and a second coolingmode, the first          cooling
                             chip temperature is "her". As a modi._ealion, ll_ second                               mode involving _           of said fan for cooling said
                             divider 64 could he replaced wlth a VCO thereby using a
                                                                                                                    mlcroproc¢_or,     and the scomxl cooling mode involv-
                             temporamm-reg'J.lated fast clock.
                                                                            thin embodimoul pxcvents 3s             tog rednetiou in the controllable frequency of the clock
                                          pzevious embodiments,
                                                                                                                    dgnsl for coolingsaid microprocessor,
                             ov_heatlng           and consel_,es energy. The advanlage of this
                              embodiment is that processing will appear more ouiform or                          wherein said fan has muhiplc speeds of opuntfiou, and
                              rcgnlar In a user.                                                                 whereist, with the first cooling mcdc, said thermal man-
                                   There are cerlaln times dudng                normal exeoudon of a                 agcmcot controller eansus said fan In operate at higher
                              program, the computer is caused to exctaxtu operadous 40                               of the speeds as needed to provided additional thermal
                              which are beyond or unmquested                    by tha program being                 cooling.
                              executed.        Such unrcque_ed operations include intercopl                      2. A computer system as recited in claim 1, wherein, with
                              proc_ing, and data tramfcr to cache memory following a                          the suannd cooling mode, said Ihermal mauagemeul               ton-
                              cache miss. Using the overdrive clock in thesu types of                         troller causca the controllshlo     frequency of the clockto be
                              situations is advantageous             because such ,,rio suhatantially     4s sueeesuively reduced as needed to provided addiiional cool-
                              lessen any delay induced by these umequeated opelatlon._ A                      ing.
                              comlmter user then pra'ccives that the compuler's respun-                          3. A comlmter s_stcm, comprising:
                              sivcoem is more regulm" and uniform. For exampk, when a                            a microprocessor,     said microprocessor operales in aenor-
                              caeha miss occurs an instnrotion c'armnlly haing in process                 -          dance with a clock signal having a controllable fro-
                              is not allowed to completu untilthe appropriate data block so                          qucncy;
                              is loaded into tha ca_c. The loading of the ca_c follow a                          a fan; and
                              cache miss causes tl_ microp:oue_o:                      to execute many
                                                                                                                 a thermal management controller operatively couer, cted
                              operations for memory management that were not requ=ted
                                                                                                                     to said mic_oprocess_     and said fan, .said thermal man.
                              by the computer program or the user, thereby delaying the
                               exceation of the instruciion. Itowever, becat.t_ the invention 55                     agcmcnt conlrollcr operates to thermally manage said
                                                                                                                     microp_r          in aecordana* wilh one of a firat cool-
                            .performs          such unrequited          operations     at higher spe_ds
                                                                                                                     ing mode and a second cooling mode, the flint cooling
                               (overdrive clock), the impact of having In perform the nxlra
                                                                                                                     mode involving use of said fan for cao]ing said
                               nnrequnated operations            is substantially   It:._sened and hope-
                                                                                                                     micropr_r,         and tho suound coolLeg mode involv-
                               fully invisible.
                                   In fact, a particular c-omputer instnteliou could by usud to 6o                   ing reduction in the controllable frequency of the clor.k
                                                                                                                     sigeai for cooling said microprocessor,
                                indirectly selcctthe desked clock ficqucncyfor the ilX_hntlC-
                                lion. This could be usefulfor instructions that require more                     wherein said microprocessor        has a sleep mode in which
                                                                                                                     the conlrollab]e liequcocy of the clock is substantially
                               intensive        processing      than do normal          insttuetions. An
                               example of intensive processing is complex floating point                             redoeed, and
                                computations. He.re, the microprocessor                would indicate to          wherein *,aid thermal managcm*nt        controller ensures that
                                the activity detector that the overdrive clock _ to he 'tt_d if                      said fan is deactivated when said mlcrop_cessur          is in
                                the chip temperature is nol roo "hot".                                               the sieep mode.




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     4. A computer system, comprising:.                                said computer operates at higher performance when in the
     a mlexopxoces_r, said microprocessor     operateS in aceor-       second cooling mode than when in the flint cooling mode.
        dance with a clock sigua] hav_g      a controllable h'e-           13. A computer as recited in claim 7, wherein when said
        qucocy;                                                        thermal controller opcratas in the first cooling mode, the
                                                                     5 cenlroIlable fi'equeney of the clock is go'ado aily and sueces-
     a fan; and
                                                                       slvcly stcpwisc reduced as nee.clod to regulalc thermal o_n-
     a thermal management controller operatively connected             ditions.
       to said microprocessor    and said fan, said thermal man-           14. A computer as rlg:ited in claim 7, whmein in the first
        agement controller operates to thermally manage said           coolingmode theIoduetioo        in the conuolhbln     frequency is
        microprocessor   in accordance with one of a first cool-    rO the primary th_mal management method, and in the second
        ing mode and a second cooling mode, the first cooling
                                                                       cooling mode said fan is the primary thermal management
        mod_ involving use of said fan for cooling said                method.
        microp_r,         and the second cooling mode involv-              15. A computer as recited in claim 14, wherein in the first
        ing reduction in the controllable frequency of the dock        cooling mode said fan is the secondary thermalmanagement
        signal for cooling said microprocessor"                     15 method used whcn farther cooling is needed, and in the
      wherein, with the firsl cooling mode, said thermal man-          second cooling mode the reduction in the controllable fre-
         agement controller causes said fan to operate st _e-          quency is the sr,crmdary thermal management method when
         cosaively higher speeds as needed to provided addi-           re[thor cooling is needed.
         tional cooling.                                                   16. A computer as recited in claim 7, wherein in the flint
      5. A computer syslem as recited in claim 4, wherein said      20 cooling mode cooling of said microprocessor            is achieved
   microprocessor     has a sleep mode in which the oantrollable       primarily through reduction in clock frequency for said
   frequency of the clock is subslanfially rechaced, and               microprocns_r,      and wherein in the saeond cooling mode
      wherein said thermal management controller ensures that          cooling said micropro_r           is achieved pdmart3y thi'ough
         said fan is deaelivaled when said microprocessor/s    in      nse of said fan.
         the sleep mode.                                            25     17. A comlmter as [celled in claim 16, wherein, [a the first
      6. A computer system as reciled in claim 4, wherein the          cooling mode, when further cooling of said microproc_sor
   limt cooling mode serves to operate the computer for blgh           is needed beyond that provided by the reduction in the clock
   performance    operation, and the saeood cooling mode se_'es         frequency, Ihen said fan is aclivatod to pmvid_ supplemental
   to conserve battery cne[gy by operating the computer with           cooling of said micropi'oees.sor.
   reduced perfonmance operation.                                   .an 18. A computer as recited in claim 16, wherein, in the
      7. A computer, comprising:                                       second cooling mode, when further cooling of said miero-
     a microprocessor thai operates in accordance with o'clock,        p_r          is needed beyond thai provided by said fan, then
       the clock having a controllable frequency;                       Ihe dock frequency for said microprocessor       can be redoced
     a temperature   sensor thai measures   a temperature;              to provide supplemental     one]tug of said microp_cr.ssor.
                                                                           19. A computer, comprising:.
     a fan, and
                                                                           a micxop_          that operates in accordance with a clock,
     a thermal controller for providing Ihermal management of
                                                                              the clock having a controllable     frequency;,
        said computer, said thermal controller has a firsl cool-
        ing mode and a _cood cooling mode, the controllable                a temperalure ,_nsor that measures a tempera[ere;
        frequency of the clock is reduced to regulate thermal              a fatt; and
        condillons when in the first cooling mode,,, and said fan 40       a thermal c_ntroller for providing thermal management of
        is activated to regulate thermal conditions when in the              said computer' said Ihermal controller has a firm cool-
        second cooling mode,                                                 ing mode and a second cooling mode, the controllable
     wherein when said thermal controller operates in the first              flequancy of Ihe clock is zeduo:d to regulate thermal
       cooling mode, the controlled freq'aency of the clock is 4s            coodilions when in the first cooling mode, and said fan
       reduced when the temperature exceeds a _      tempera-                   activated to regulate thermal condilions when in the
       rare threshold, and                                                   second coohog mode,
      wherein when said thermal controller operates in the                 wherein said micropre_r        has a sleep mode in which
         second cooling mode, .said fan is activated whetl the               the controlled fa'eqacocy of the clockis substantially
         tempurslur¢ exceeds a second temperature tfireshold.        50        redone, d, and
                                                                           wherein said controller emmres that said fan is deactivated
      8. A computer as recited in claim 7, wherein the first
   cooling mode is a reduced power mode and the second                         when said microprneessor     is in the sleep mode.
   cooling mode is a performance       mode.                               20. A compuler as [coiled in claim 19, wherein when said
      9. A compuler as recited in claim 7, whercin said tcm-            thermal controller operares in the firsl cooling mode, the
   perature sensor measures the tempurature of said micropm-         55 cxmtrollable fi'equcoey of the clock is gradually and stances-
   cessoL                                                               slvcly reduced as needed to regulate thermal conditions.
      10. A computer        as recited in claim 7, wherein said             21. A compuler as [coiled in claim 19, wherein when said
   lempuram[e      sensor is integral with said microprocessue.          thermal controller operates in the first cooling mode, the
      11. A computer as recited in claim 7, wherein said                controllable frequency of the clock is dependcnl on the
   microprocessor      has a sleep mode in which the controlled      60 temperature measured by said temperature sensor.
   frequency of the clock is substantially reduced, and                     22. A computer, comprising:
      wherein wlgn said mieroproeexsor         is in the slet:p mode        a mic_oproccr_o_ Ihal operates in accordance with a clock,
         said controller ensures thai said fan is deactivated               " the clock having a conlrollablc frequency;
        • [egardlass of thermal conditions.                                 a tcmperahuc sensor that measures a temperature;
      12. A computer        as recited in claim 7, wharcin said 65          a fan; and a thermal controller for providing thermal
    computer consumes reduced energy when in the first cooling                  management of said compuler' said thermal controller
    mode than when in the second cooling mode, and wherein                      has a flint cooling mode and a second cooling mode. the




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                                             13                                                                       14
                   controllable   frequency of the clock is reduced to rosa-             27. A computer    system as recited in claim 24,
                   [am thermal    conditions when in the first cooling mode,       wherein said fan is operable in a plurality of diffJ_rent
                   and said fan    is aetivared In regulate thermal conditions         spee.d.% and
                   when in the     second cooling mode.                            wherein _          the temperalUr_ JndJcatioa indicate; Lhat
                wherein said fan is a varinblc.-q_',ed fan, and               s        the lemperatm* of said nderoproct.'s.sor dons not exceed
                wherein when said thermal conlroller operates in the                   the second lemperature tln'eshoid, said fan is not acti-
                   second cooling mode, the speed of said fan is gradually             vated.
                   increased as needed to roe-slate thermal conditions.             28. A comtmtea " syslem as re.clted in claim 24, wheat:in
                23. A compuler, comprising:                                      said thermal manage- deatel_atns the fan when todd mi_o-

                                    that opermes in accordance with a clack, l0 p_or           _ters a reduced power modo.
                a mieroprocer_,r
                                                                                    29. A computer system as recited in claim 24. wherein
                   the clod_having a coatrollnbkfrequency:
                                                                                 said thermal manager deaO, ivaleS the fan when said mk:m-
                s U_rl3_erature _lk_r lhat mecsu[ns a le_mture;
                                                                                 processor enters a sk.¢p mode.
                a fan; and                                                          30. A compeler system as aedted in claim 24, wherein
                a thermal controller for p_viding thermal management of 15 said computer system furlhar comprises:
                   said computer, said thermal controller has a first cool-         an activity      dutenlor   operatively   connected   to said
                    ing mode and a _:cond cooling mode, the controllable               microptoecr_,        said _etlvity detector determines an
                    frequency of the clock is reduced to regulatu thermal               activity level of said mi_op_,            and
                    conditions when in the first cooling mode, and .said fan
                                                                              20    wherein the speed of said fan is controlled based on the
                    is activated to regulate thermal conditions when in Ihe
                                                                                        tcmlx_rature of said mic_o_r              and tho activity
                    r_.cond cooling mode,                                               level.
                 wherein    said fan is a variabin-speed   fan, and                      31. A computer system as rcdted        in claim 30,
                 wherein when said thermal controller     operates in the                wherein said thenltal manager is operatively      cmmen[nd    to
                    second cooling mode, the speed of said fan is depen-                   said activity dutector, and
                    dent on the temperalura measured by said lemperature                 wherein when said aetlvlty deleetor detects that the activ-
                    sensor
                                                                                           ity level is low, said then'real manag_       cans_    the
                 24. A computer system, compddog:                                          clocking flequetmy to be substantially     [educed such
                 a mic_op_,         said miaoprocessor   operat;ng to per-                 that said fan oced not hheactivated.
                    form operalinra in acr.ordanet   with a docking    frs-               32. A computer w/stem as re.citcd in claim 24, wherein
                    queocy;                                                            said then'nat ecottolkr   manages Ihe tuml_ralu_        of said
                 n fan;                                                                mitrer           tu advea,1its overheating in an e:_ergy e_i-
                 a tcraperamrc     sensor that provides a temperatmt      indica-      dent manner by avoiding the _       of said fan al a flint slag*
                    tion; and                                                          and instead improving thermal conditinns        by sacrificing
                                                                                       some performance of said microprocessor       by inwering the.
                  a thermal manager operatively connected to said micro-
                                                                                       clocking freqtmncy.
                     processor and said [an, .said thermal manager being
                                                                                          33. A computer system as recited in chim 32, wherein in
                     configrared to receive the temperana'¢ indiestion from
                                                                                       a second slag* said fan is also used to improve the thermal
                     .*,aid temperature sensor, and raid thermal manager
                     compares thc temperature indication to flint and second             conditions when the lowering of the clocking fre.quoncy in
                      temperatme threshokL% eau.se.s the clocking frequency 40 die firsl stage is unable to stabilize the thermal conditions.
                      for said mierop_r            to be redhead to provide the-            34.A compuler system as recited in claim 33, w_              in
                                                                                         the se,eond stage a plurality of respectively greater spends for
                      mat management when the temperature i_dicatinn indi-
                                                                                         said fan can he _,ed In attempt to mablllz_ the thermal
                      ¢_ttes that The rempexamre         Of said mioroprot;ns._r
                                                                                         conditinm.
                      exceeds the- first temperature thre_oid,       and activates
                     said fan when the tumperature indieatloo indicatns that 45             35. A computer system ns mdle.d in claim 33, wbernin in
                                                                                         the first stage a plurality of rmpectively        lower clocking
                      the temperantre     of said mieropr_¢ssor        excocds the
                                                                                         frequencins cau be used to attempt Io slabiliz_ the then_al
                      _otmd temperatme threshold, the second temperalxtre
                                                                                         conditions.
                      threshold being granter than the first temperature
                                                                                            36. A computer syst m'n as renitcd in claim 35, whtcein in
                      thredlold.
                                                                                    .SO the second st age a pluto lity of resptx:fively greater speexts for
                   25. A computer system as reehed in claim 24,
                                                                                         said fan can be _,_1 to attempt to stabilize          the thermal
                   wherein said fan is operable in a plurality of different              conditions.
                       :speeds,
                                                                                            3"/. A computer system, comp_g:
                   wherein when the temperature           indication indicates that
                                                                                             a microprocesSOr, said microprocessor       oFerati_g to per-
                       the temperature does not exe.r_ the second tempera-           .55
                                                                                                form operatio_      in accordance    with a clocking fre-
                       lure threshold, said fan is not activated,
                                                                                                quency;,
                   wherein when the lemperalure           indication indicates that
                                                                                             a fan;
                       the lsmporahJrc does exceed the second temperaturn
                        threshold, said fan is activated and the spet:d of said fan          a ten_3¢ratur_ sensor that pl_          S temperature indies-
                        is dependent   upon the exleml thai the temperature of                   lion; arm
                       said miaoprocesr_r       exceeds the second temperature               a thermal manage_ operatively connentcd to raid micro-
                        threshold, and                                                           proces.sor and said fan, said tlmrmal manager being
                   wherein pulse width modulation            is used to control the              configured to receive the temperature indication from
                        speed of said fan.                                                       said leml_ratnre senSOr, and said thtamaal manager
                    26. A compnter system as recited in claim 24, wherein                        compares the temperature indiestion to firm end second
                said II_fmal controllta minimizes the use of said fan so as                      temperature   thresholds, activates said fan when the
                to minimize power consumption.                                                   temperature indication indicates that the temperature of




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                                   15                                                                         16
        said microprocessor exceeds the first temperature                         dock signal in a gradual and dynamic manner based on
         Ihreshoid, and causes the clockfng frequency for said                    the activity of said pmceesing unit as monitored by said
         m/croprocessor to be redhead to provide thermal man-                     activity deleaor.
         agemunl when the temperature indication indicates that                47. A computing apparatus as recited in claim 46, wherein
         the tan3pcr_l_rc of said microprnces._r   exceeds the 5            said computing apparatus is a microprocessor.
         second tczrq_cratme threshold, the _cood temperatlu¢                  48.A computing apparatus asredted      in claim 46, wherein
         threshold  being greater  than the first temperature               said clock eunttol unitoperates to ,cduc_ the dock fre-
         threshold.
                                                                            quency of the dock signal to redac¢ power consumption by
      38. A computer system as recited in claim 37,                         said procc_ng unit when the activity of said processing unit
       wherein said fan is operable in a plurality of different          I0 is low.
          speeds, and                                                               49. A computing apparatus as recited in claim 46,wherein
       wherein when the temperature indication indicates that                  said computing apparatus further comprises:
          the temperature does not nxcood the firm teml_ratm_                       a thermal SeIEor for monitoring         temperature of said
          three&old, said fan is not activated.
                                                                           t5          processnig uniL
       39. A computer system as recited in cIaim 37, wherein                        50. A compming apparatus as recited in claim 49, wherein
   said thermal manager deactivates the fan when said mic.m-
                                                                               said _          control unit opaates to alter the clock fi'equancy
   pm_r            cmcss a reduced.power mode.
                                                                               of I_ dock signal in a gradual and dynamic manner based
       40. A computer system as recited in claim .37, wherein
                                                                               on the activity of said processing unit as monitored by said
   said thermal manager deactivates the fan when said micra-
                                                                           '2o activity dctectur and the tempct"atui_ of said processing unit
   processor enters a sleep mode.
       41. A computer system as re.cited in claim 37, wherein                  as monitored by said thermal se_sor.
   said computer syslem further comprises:                                          51.A computing apparatus as recited in claim 49, wherein
                                                                               said dock control unit operales to re.duo: the clock fre-
       an activity       detuclor operatively       connected    to said
                                                                               quency of the doric s_gusl to re,dac_ power coesumpfiun           by
           microprocessor,       said activity deteoor    determines an
                                                                               said processing unit when the activity of said pmoeesing unit
           aOivity level of said microprocessor,        and                     is low.
       wherein the speed of said fan is conuolled based on the                      52. A compuling apparatus as recited in shim 51, whcrcln
            temperature of said microp_-ocessor         and the activity        said clock comrol mail further operates to alter the clock
           level.
                                                                                frequency of the clock signal to reMuc¢ power congtmption
       42. A computer _/stzm as recited in claim 41,                        aa by said procaine          unit when the tempuratur¢ of said pro-
       wherein said thermal manager is operativsly connected to                 ccsdng unit exceeds a linesllold temperalure.
           said activity detecior, and                                              53. A computing apparatus as recited in claim 49,
       wherein when said activity detector detects that the activ-                  wherein said clock controlunit operates to reduce the
            ity lnvcl is low, said thermal manager cusses the                           clock fi'equancy of the clock signal to a lower clock
           c]ocking frequency        In be substaedaily reduced.            35          frequency when the activity of said processing unit is
       43. A computer system as recited in claim 37, wherein                            low, thereby redudng       power consumption      by said
    said thermal controller          maeages the temperature of said                    processing unit when the aclivity of said processing
    microprocessor        to advert its overheating in an energy effi-                  unit is low,
   cleat manner by using use of said fan at a fuse stage to                         wbe_in      said clock control unit operates In increase the
                                                                            4o
    improve thermal conditions w/about sacaificing performance                          clock frequency of the ckx:k renal to a h_her clock
    of said mictoprocessur         by lowering the clocking frequency.                  fi'equency whrn the activity of said processing unit is
        44. A computer syslem as recited in claim 43, wherein in                        high, thereby in_reas'ing processing capab_tles     by said
    the first stage a phtraiity of respectively greater speed.q for                     procezsiog unit, and
    said fan can be used to attempt to stabilize the thermal
                                                                            45       wherein said dock control unit further operates to alter
    comiitious.
                                                                                         thc dock fzequency of the clock signal to limit the
        45. A computer system as recited in claim 43, wherein in
                                                                                        higher clock frequency when the temperature of s.aid
     the second stage a pMrality of respectively lower clocking
                                                                                        procr..sslng unit exceeds a first threshold tonperatmc.
  • frequenclcs can be used to attempt to stabilizt: the thermal
                                                                                     54. A computing apparatus as re._ted in claim 53,
     conditions.
                                                                            Z) wherein, when said clockunmml unit is limiting the higher
        46. A computing apparatus, compddng:
                                                                                 clockfrequency bceatme the temperatm'e of said processing
        a prOCessing unit, said preceding          unit execute,.--,
                                                                  iustruc.       unit p_eviously exceeded the [Issl tineshold temperature,
             dons in accordance with a clock signal having a clock               said clock control unit further operat_ to r¢icase the limit In
             frequency;                                                          the higher clock frequency        of the clock signal when the
        an activity detector that monitors activity of said proc¢._- ss temperature of said processing unit fails below a second
             ing unil; and                                                        thr_lmld     temperature, the sacond threshold      temperature
        a dock control unit operativsly          connected to said pro-          being below the first threshold temperature.
             ccs.qing unit and said activity detector, said clock con-
              trol unit nitrates    In alter the clock flcqucncy of the




                                                                          A 76
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Caption:             IPVENTURE,  INC. v. PROSTAR  COMPUTER,  INC.,                                                     et al.
Filed:               IN THE FEDERAL   CIRCUIT  COURT OF APPEALS



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